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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:

DIRECT ENTERTAINMENT MEDIA                                          Chapter 11
GROUP, INC.                                                         Case No. 13-22236 (RDD)

                       Debtor.
----------------------------------------------------------------x

                 DISCLOSURE STATEMENT FOR PLAN OF LIQUIDATION
                   OF DIRECT ENTERTAINMENT MEDIA GROUP, INC.
                PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


DICKSTEIN SHAPIRO LLP
1633 Broadway
New York, NY 10019
Telephone:  (212) 277-6500
Facsimile:  (212) 277-6501

– and –

WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue
New York, New York 10153
Telephone:    (212) 310-8000
Facsimile:    (212) 310-8007

Co-Counsel for Direct Entertainment
Media Group, Inc.

Dated: July 17, 2013

     THIS DISCLOSURE STATEMENT IS SUBJECT TO BANKRUPTCY COURT
    APPROVAL AND IS NOT SUBMITTED IN SOLICITATION OF ACCEPTANCE
      OR REJECTION OF DEMG’S PLAN OF LIQUIDATION. ACCEPTANCES
       OR REJECTIONS MAY NOT BE SOLICITED UNTIL A DISCLOSURE
      STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT.


            THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS
            OCTOBER [___], 2013, AT 4:00 P.M., PREVAILING EASTERN TIME.
                 THE VOTING AGENT MUST ACTUALLY RECEIVE
                 YOUR BALLOT BEFORE THE VOTING DEADLINE.
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          Chapter 11 of the Bankruptcy Code




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        THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT
(THE “DISCLOSURE STATEMENT”) IS INCLUDED HEREIN FOR PURPOSES OF
SOLICITING ACCEPTANCES OF THE PLAN OF LIQUIDATION OF DIRECT
ENTERTAINMENT MEDIA GROUP, INC. UNDER CHAPTER 11 OF THE
BANKRUPTCY CODE, DATED JULY 17, 2013, AS MAY BE AMENDED, MODIFIED,
OR SUPPLEMENTED FROM TIME TO TIME (THE “DEMG PLAN”) AND MAY NOT
BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO DETERMINE HOW TO
VOTE ON THE DEMG PLAN. 1 A COPY OF THE DEMG PLAN IS ANNEXED
HERETO AS EXHIBIT A. NO SOLICITATION OF VOTES TO ACCEPT THE PLAN
MAY BE MADE EXCEPT PURSUANT TO SECTION 1125 OF THE BANKRUPTCY
CODE.

        ALL CREDITORS ARE ADVISED AND ENCOURAGED TO READ THIS
DISCLOSURE STATEMENT AND THE DEMG PLAN IN THEIR ENTIRETY BEFORE
VOTING TO ACCEPT OR REJECT THE DEMG PLAN. ALL HOLDERS OF CLAIMS
SHOULD CAREFULLY READ AND CONSIDER FULLY THE RISK FACTORS SET
FORTH IN SECTION VIII (CERTAIN FACTORS AFFECTING DEMG) OF THIS
DISCLOSURE STATEMENT BEFORE VOTING TO ACCEPT OR REJECT THE
DEMG PLAN.     PLAN SUMMARIES AND STATEMENTS MADE IN THIS
DISCLOSURE STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY
REFERENCE TO THE DEMG PLAN AND THE EXHIBIT ANNEXED TO THE PLAN
AND THIS DISCLOSURE STATEMENT. THE STATEMENTS CONTAINED IN THIS
DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE HEREOF, AND
THERE CAN BE NO ASSURANCE THAT THE STATEMENTS CONTAINED HEREIN
WILL BE CORRECT AT ANY TIME AFTER THE DATE HEREOF. IN THE EVENT
OF ANY CONFLICT BETWEEN THE DESCRIPTIONS SET FORTH IN THIS
DISCLOSURE STATEMENT AND THE TERMS OF THE DEMG PLAN, THE TERMS
OF THE DEMG PLAN WILL GOVERN.

       THE DISCLOSURE STATEMENT HAS BEEN PREPARED IN
ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND
BANKRUPTCY RULE 3016(b) AND NOT NECESSARILY IN ACCORDANCE WITH
OTHER NON-BANKRUPTCY LAW.

        CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE
STATEMENT, INCLUDING WITH RESPECT TO PROJECTED CREDITOR
RECOVERIES AND OTHER FORWARD-LOOKING STATEMENTS, ARE BASED ON
ESTIMATES AND ASSUMPTIONS. THERE CAN BE NO ASSURANCE THAT SUCH
STATEMENTS WILL BE REFLECTIVE OF ACTUAL OUTCOMES. FORWARD-
LOOKING STATEMENTS ARE PROVIDED IN THIS DISCLOSURE STATEMENT
PURSUANT TO THE SAFE HARBOR ESTABLISHED UNDER THE PRIVATE
SECURITIES LITIGATION REFORM ACT OF 1995 AND SHOULD BE EVALUATED
IN THE CONTEXT OF THE ESTIMATES, ASSUMPTIONS, UNCERTAINTIES, AND
RISKS DESCRIBED HEREIN.
1
      Capitalized terms used but not otherwise defined in this Disclosure Statement, shall have the
same meanings ascribed to them in the DEMG Plan.


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       AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS AND
OTHER ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT
WILL NOT CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT
OR LIABILITY, STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT
MADE IN SETTLEMENT NEGOTIATIONS. THIS DISCLOSURE STATEMENT
WILL NOT BE ADMISSIBLE IN ANY NON-BANKRUPTCY PROCEEDING
INVOLVING THE LIQUIDATING DEBTOR OR ANY OTHER PARTY, NOR WILL IT
BE CONSTRUED TO BE CONCLUSIVE ADVICE ON THE TAX, SECURITIES, OR
OTHER LEGAL EFFECTS OF THE DEMG PLAN AS TO HOLDERS OF CLAIMS
AGAINST, OR INTERESTS IN, DEMG IN THIS CHAPTER 11 CASE.

        THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT
ARE MADE AS OF THE DATE HEREOF UNLESS ANOTHER TIME IS SPECIFIED
HEREIN, AND THE DELIVERY OF THIS DISCLOSURE STATEMENT WILL NOT
CREATE AN IMPLICATION THAT THERE HAS BEEN NO CHANGE IN THE
INFORMATION STATED SINCE THE DATE HEREOF. HOLDERS OF CLAIMS
SHOULD CAREFULLY READ THIS DISCLOSURE STATEMENT IN ITS ENTIRETY,
INCLUDING THE DEMG PLAN, PRIOR TO VOTING ON THE DEMG PLAN.

        SUMMARIES OF CERTAIN PROVISIONS OF AGREEMENTS REFERRED
TO IN THIS DISCLOSURE STATEMENT DO NOT PURPORT TO BE COMPLETE
AND ARE SUBJECT TO, AND ARE QUALIFIED IN THEIR ENTIRETY BY
REFERENCE TO, THE FULL TEXT OF THE APPLICABLE AGREEMENT,
INCLUDING THE DEFINITIONS OF TERMS CONTAINED IN SUCH AGREEMENT.

       DEMG URGES THE CREDITORS OF DEMG TO VOTE TO ACCEPT THE
DEMG PLAN. DEMG BELIEVES THAT THE DEMG PLAN PROVIDES THE
HIGHEST AND BEST RECOVERY FOR DEMG’S CREDITORS.

        INTERNAL REVENUE SERVICE CIRCULAR 230 NOTICE: TO ENSURE
COMPLIANCE WITH INTERNAL REVENUE SERVICE CIRCULAR 230, HOLDERS
OF CLAIMS AND EQUITY INTERESTS ARE HEREBY NOTIFIED THAT: (A) ANY
DISCUSSION OF FEDERAL TAX ISSUES CONTAINED OR REFERRED TO IN THIS
DISCLOSURE STATEMENT IS NOT INTENDED OR WRITTEN TO BE USED, AND
CANNOT BE USED, BY HOLDERS OF CLAIMS OR EQUITY INTERESTS FOR THE
PURPOSE OF AVOIDING PENALTIES THAT MAY BE IMPOSED ON THEM UNDER
THE INTERNAL REVENUE CODE; (B) SUCH DISCUSSION IS WRITTEN IN
CONNECTION WITH THE PROMOTION OR MARKETING BY DEMG OF THE
TRANSACTIONS OR MATTERS ADDRESSED HEREIN; AND (C) HOLDERS OF
CLAIMS AND EQUITY INTERESTS SHOULD SEEK ADVICE BASED ON THEIR
PARTICULAR CIRCUMSTANCES FROM THEIR TAX ADVISOR.




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I.     EXECUTIVE SUMMARY2

        On February 17, 2013 (the “Commencement Date”) and continuing immediately
thereafter, Direct Entertainment Media Group, Inc., the above-captioned debtor and debtor in
possession (“DEMG”), along with RDA Holding Co. (“RDA Holding”), The Reader’s Digest
Association, Inc. (“Reader’s Digest”), and its other affiliated debtors and debtors in possession
(RDA Holding, Reader’s Digest and the affiliated debtors and debtors in possession, other than
DEMG, are collectively referred to herein as the “Reorganization Plan Debtors”), each filed
voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”). DEMG’s
and the Reorganization Plan Debtors’ chapter 11 cases are being jointly administered for
procedural purposes only under the case In re RDA Holding Co., et al., Ch. 11 Case No. 13-
22233 (RDD) (collectively, the “Chapter 11 Cases”). The Reorganization Plan Debtors have
separately proposed a Second Amended Joint Plan of Reorganization of Certain Debtors Under
Chapter 11 of the Bankruptcy Code (the “Reorganization Plan”). The Reorganization Plan was
confirmed by the Bankruptcy Court on June 28, 2013. It is anticipated that the Reorganization
Plan will be consummated (the “Reorganization Plan Effective Date”) on or about July 31,
2013.

        DEMG is currently a non-operating subsidiary of RDA Holding having sold certain of its
assets and ceased all operations in July 2012. Prior to July 2012, DEMG’s primary business
included the sale of the Ab Circle Pro (as hereinafter defined) and certain other direct marketed
products. As explained in Section III.B., infra, the licensing rights to the marketing of the Ab
Circle Pro were acquired by DEMG, a newly created sister company to DHA (as herein defined)
in 2009. Due to certain economic and business factors, including a substantial decline in the
market for the Ab Circle Pro, DEMG ceased all direct marketing of the Ab Circle Pro by the end
of 2011. DEMG, thereafter, decided to file its chapter 11 case on the Commencement Date to
liquidate its liabilities and maximize its remaining assets, rather than try and reorganize or
rehabilitate any ongoing business. Accordingly, DEMG has decided to wind up its business and
affairs and proposes the DEMG Plan to effectuate such a wind up of its affairs leading ultimately
to DEMG’s dissolution as a corporation under applicable law. DEMG proposes its plan of
liquidation to maximize distributions to its creditors.

       The DEMG Plan implements several consensual settlement agreements negotiated among
DEMG, the Reorganization Plan Debtors, the Creditors Committee, the United States Federal
Trade Commission (“FTC”) and DEMG’s major stakeholders, including Wells Fargo Principal
Lending, LLC (together with one of its affiliates, “Wells Fargo”) and an ad hoc committee (the
“Ad Hoc Committee”) comprised of holders of more than two-thirds of the Debtors’ Floating
Rate Senior Secured Notes due 2017 (the “Senior Notes”). These agreements provide for,
among other things, (a) the allowance of a general unsecured claim in favor of DEMG against
Reader’s Digest in the amount of $7,290,327.03 (the “DEMG Allowed Claim”); (b) an advance

2
        This Executive Summary is qualified in its entirety by reference to the DEMG Plan. Any
statements as to the rationale underlying the treatment of Claims and Interests under the DEMG Plan are
not intended to, and will not, waive, compromise or limit any rights, claims or causes of action in the
event that the DEMG Plan is not confirmed. You should read the DEMG Plan in its entirety before
voting to accept or reject the DEMG Plan.
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from Reader’s Digest, if needed, (defined in the DEMG Plan as the “Parent Advance”) in an
amount up to $50,000 to defray the costs of implementing and administering the DEMG Plan
and the wind down of DEMG’s affairs; and (c) the waiver by the Reorganization Plan Debtors of
any and all claims against DEMG based upon the payment by the Reorganization Plan Debtors
of DEMG’s allocable share of the costs of administering the Chapter 11 Cases incurred prior to
the Reorganization Plan Effective Date.

        Substantially all of DEMG’s assets are subject to valid and perfected liens held by the
DIP Lenders (as hereinafter defined), 2012 Senior Credit Agreement Lenders and the Senior
Noteholders, which require payment in full prior to distributions to holders of unsecured claims
against DEMG. The Reorganization Plan provides that such liens shall be released on the
Reorganization Plan Effective Date. DEMG’s principal asset is its $7,290,327.03 claim against
RDA, with respect to which DEMG is expected to receive a cash distribution of approximately
$250,000. That distribution would be subject to the liens of the DIP Lenders, Senior Lenders
and Senior Noteholders and would not be available for distribution to DEMG’s unsecured
creditors except that, pursuant to plan settlements and subject to the occurrence of the
Reorganization Plan Effective Date, the Senior Noteholders have agreed to (1) waive their
distribution pursuant to the FTC Stipulation (as defined herein) and (2) surrender their Notes
under the Reorganization Plan. Moreover, while the Senior Noteholders have a substantial
unsecured claim against DEMG (resulting from the fact that their claims are not being satisfied
in full under the Reorganization Plan), they have also agreed to waive their distribution on
account of their Pro Rata share of cash otherwise distributable to general unsecured creditors of
DEMG (but not their voting rights). While a portion of the cash distribution to be received by
DEMG under the Reorganization Plan may be consumed to pay higher priority administrative
claims before payments can be made to DEMG’s general unsecured creditors, the Parent
Advance provides additional assurance that most, if not all, of the anticipated $250,000
distribution will be available for distribution to holders of Allowed General Unsecured Claims
against DEMG.

        Specifically, the DEMG Plan provides for monetization of DEMG’s limited remaining
property interests and the distribution of the proceeds to holders of Allowed Claims, including
the distribution of all Available Cash (as defined in the DEMG Plan) to holders of Allowed
General Unsecured Claims. The Available Cash will be held in a segregated non-interest bearing
account(s) maintained by Reader’s Digest as Disbursing Agent. Reasonable expenses incurred
by Reader’s Digest, as Disbursing Agent, shall be reimbursed by the Liquidating Debtor.

        DEMG believes that Confirmation of the DEMG Plan, will maximize distributions to
creditors and that any alternative plan or move to convert the DEMG Case to a case under
chapter 7 of the Bankruptcy Code or dismissal of the DEMG Case could result in significant
delays, litigation and additional costs.

        The purpose of this Disclosure Statement is to provide holders of Claims entitled to vote
to accept or reject the DEMG Plan with adequate information about (1) DEMG’s business and
certain historical events, (2) the DEMG Case and the Chapter 11 Cases, (3) the DEMG Plan, (4)
the rights of holders of Claims and Equity Interests under the DEMG Plan, and (5) other
information necessary to enable each holder of a Claim to make an informed judgment as to
whether to vote to accept the DEMG Plan.


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              THE DEBTOR URGES YOU TO VOTE IN FAVOR OF THE DEMG PLAN.

II.    INTRODUCTION

       Pursuant to section 1125 of the Bankruptcy Code, DEMG submits this Disclosure
Statement to all holders of Claims against, and Interests in, DEMG to provide information in
connection with the solicitation of acceptances of the DEMG Plan. The Disclosure Statement is
organized as follows:




                creditors vote to accept the DEMG Plan.

       A.       DEMG’S PROFESSIONALS

        Pursuant to separate orders of the Bankruptcy Court, DEMG has retained, in addition to
certain other professionals, (1) Dickstein Shapiro LLP and Weil, Gotshal & Manges LLP, as
their legal advisors; (2) Evercore Group L.L.C. (“Evercore”), 3 as their investment bankers; and
(3) Epiq Bankruptcy Solutions, LLC (“Epiq,” or the “Voting Agent”), as claims agent and
administrative adviser. Contact information for these advisors is set forth below:

            Weil, Gotshal & Manges                      Dickstein Shapiro LLP
            LLP 767 Fifth Avenue                        1633 Broadway
            New York, New York 10153                    New York, New York 10019
            (212) 310-8000                              (212) 277-6500
            Attn: Marcia L. Goldstein, Esq.             Attn: Barry N. Seidel, Esq.
                  Joseph H. Smolinsky, Esq.


3
       Evercore’s services will be terminated upon the Reorganization Plan Effective Date.


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            Epiq Bankruptcy Solutions, LLC              Evercore Group L.L.C.
            757 Third Avenue                            55 East 52nd Street
            3rd Floor                                   New York, New York 10055
            New York, New York 10017                    (212) 857-3100
            (646) 282-2500                              Attn: Qazi Fazal
            Attn: James Katchadurian


       B.      IMPORTANT DATES

       Please take note of the following important dates:

         Deadline to file and serve any objection or response      October [___], 2013 at
         to the DEMG Plan (the “Objection Deadline”)               4:00 p.m. (Eastern Time)
         Deadline for completed ballots to be received by          October [___], 2013 at
         the Voting Agent (the “Voting Deadline”)                  4:00 p.m. (Eastern Time)
         Scheduled date and time for the commencement of           October [___], 2013 at
         the hearing to consider confirmation of the DEMG          10:00 a.m. (Eastern
         Plan (the “Confirmation Hearing”)                         Time)

       C.      BRIEF OVERVIEW OF THE DEMG PLAN4

       The DEMG Plan described in this Disclosure Statement provides for the wind down of
DEMG’s affairs in accordance with Section 5 of the DEMG Plan, including the monetization of
all property of the DEMG Estate, the distribution of funds to holders of Allowed Claims in
accordance with the terms of the DEMG Plan, and the subsequent dissolution of DEMG.

         The DEMG Plan implements several consensual settlement agreements that either fix or
otherwise resolve certain Claims held by or asserted against DEMG, or provide funding to assist
with the Wind Down of DEMG in accordance with the DEMG Plan. These agreements were
negotiated among DEMG, the Reorganization Plan Debtors, the Creditors Committee, the FTC,
and DEMG’s major stakeholders, including Wells Fargo and the Ad Hoc Committee, and their
respective professionals. The terms of the negotiated agreements are embodied in (a) the
Stipulation and Order Pursuant to 11 U.S.C. §§ 105 and 502 Fixing and Allowing Claims of
Federal Trade Commission and Granting Related Relief, dated May 28, 2013 and approved by the
Bankruptcy Court by order dated July 1, 2013 (Case No. 13-22233, ECF No. 489) (the “FTC
Stipulation”); (b) the Stipulation and Order Pursuant to 11 U.S.C. §§ 105 and 502 Fixing and
Allowing Claims Between Direct Entertainment Media Group, Inc. and the Other Debtors, dated
June 14, 2013 and approved by the Bankruptcy Court by order dated July 1, 2013 (Case No. 13-
22233, ECF No. 407) (the “DEMG Claim Stipulation”); and (c) that certain Disbursing Agent

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        This summary overview is qualified in its entirety by reference to the DEMG Plan. Any
statements as to the rationale underlying the treatment of Claims and Interests under the DEMG Plan are
not intended to, and will not, waive, compromise or limit any rights, claims or causes of action in the
event that the DEMG Plan is not confirmed. You should read the DEMG Plan in its entirety before
voting to accept or reject the DEMG Plan.


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Agreement by and between DEMG and Reader’s Digest, dated July 17, 2013 (as may be
amended, supplemented or modified from time to time in accordance with the terms thereof, the
“Disbursing Agent Agreement”). A copy of the Disbursing Agent Agreement is annexed to the
DEMG Plan as Exhibit 1.

       Pursuant to the DEMG Claim Stipulation, the Reorganization Plan Debtors and DEMG
agreed that (i) DEMG shall have an allowed general unsecured claim against Reader’s Digest in
the amount of $7,290,327.03 (the “DEMG Allowed Claim”), and (ii) Reader’s Digest shall
advance up to $50,000 to for the benefit of DEMG to pay for costs and expenses incident to the
administration of DEMG’s chapter 11 case and/or implementation of the DEMG Plan.

        The DEMG Claim Stipulation fully resolves all disputes between DEMG and the
Reorganization Plan Debtors and established the DEMG Allowed Claim that will be the primary
source of funding for the DEMG Plan. Such disputes include the protective claims filed by
DEMG in an unliquidated amount against the Reorganization Plan Debtors that asserted possible
claims based on, among other things, (a) potential preference and other avoidance actions
pursuant to chapter 5 of the Bankruptcy Code and other applicable nonbankruptcy law, (b)
transfers of liabilities related to the Federal Trade Commission and (c) contribution,
reimbursement and/or indemnification pursuant to various lending and financing agreement
(together with any other claims filed against the Reorganization Plan Debtors by DEMG, the
“DEMG Claims”). The allowance of the DEMG Allowed Claim is in full and final satisfaction
of all amounts due and owing by the Reorganization Plan Debtors or their affiliates with respect
to the DEMG Claims, including without limitation, claims, if any, by DEMG against the
Reorganization Plan Debtors for indemnification or contribution with respect to the FTC
Complaint, the FTC Stipulated Judgment or the FTC Claims and claims for potential avoidance
action transfers for, among other things, historic dividends. The DEMG Claim Stipulation
further provides that the Reorganization Plan Debtors shall waive any and all claims against
DEMG based upon the payment by the Reorganization Plan Debtors of DEMG’s allocable share
of the costs of administering the Chapter 11 Cases incurred prior to the Reorganization Plan
Effective Date. Such stipulation ensures that the DEMG Estate shall have no liability for any
Claims asserted under or in connection with the DIP Facility or the 2012 Senior Credit
Agreement. Furthermore, pursuant to the FTC Stipulation, the Consenting Secured Noteholders
(as defined therein) have agreed to waive any and all right to share in any distribution from the
DEMG Estate on account of any claims arising under or relating to the Senior Notes.

        Under the DEMG Plan, and except to the extent that a holder of an Allowed General
Unsecured Claim agrees to less favorable treatment of such Allowed General Unsecured Claim
or has been paid before the Effective Date, each holder of an Allowed General Unsecured Claim
shall receive its Pro Rata share of “Available Cash.” As defined in the DEMG Plan, Available
Cash shall be calculated, from to time, as that amount equal to (a) all Cash held, or received in
the future, by the Liquidating Debtor and cash received from the disposition of assets or
otherwise, minus (b)(i) the Wind Down Reserve ($25,000), (ii) those amounts necessary to pay
Allowed Administrative Expense Claims, Allowed Secured Claims, Allowed Other Priority
Claims and Allowed Priority Tax Claims in accordance with the DEMG Plan, and (iii) a reserve
sufficient to pay Disputed Administrative Expense Claims, Disputed Secured Claims, Disputed
Other Priority Claims and Disputed Priority Tax Claims, if such Claims were to be Allowed as



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asserted, unless a reserve in a different amount is agreed to by DEMG and the affected
claimholder or set by order of the Bankruptcy Court.

        The proceeds of the DEMG Allowed Claim will be distributed to holders of Allowed
Claims pursuant to the DEMG Plan, subject to the rights of administrative expense creditors to
be paid in full. DEMG believes that the unused retainer fees held by DEMG’s professionals
who will provide services in connection with the confirmation and implementation of the
DEMG Plan and the Wind Down, together with the Parent Advance will be adequate to pay all
or substantially all administrative expenses arising after the Reorganization Plan Effective Date.

        Existing holders of Equity Interests in DEMG shall retain such Interests, but will receive
no distribution of any property of the Liquidating Debtor unless and until all Allowed General
Unsecured Claims are paid in full.

        After all distributions under the DEMG Plan have been made, and upon the entry of a
Final Decree, the Liquidating Debtor shall be dissolved and all Equity Interests shall be
cancelled and of no further effect. Section VI of this Disclosure Statement provides a more
detailed description of the DEMG Plan.

            D.    SUMMARY OF DISTRIBUTIONS AND
                  VOTING ELIGIBILITY UNDER THE DEMG PLAN

        The following table briefly summarizes the classification and treatment of Claims and
Interests under the DEMG Plan, and the voting eligibility of the holders of such Claims and
Interests:


                                                                                         Approx. %
    Class        Designation                     Treatment        Eligible to Vote
                                                                                          Recovery

     1      Other Priority Claims               Unimpaired              No                  100%
                                                                 (deemed to accept)
     2      Secured Claims                        Impaired5            Yes                  100%

     3      General Unsecured Claims              Impaired               Yes                 1%

     4      Equity Interests                      Impaired               Yes                 n/a


       Section VI.B of this Disclosure Statement provides a more detailed description of the
treatment of Claims and Interests under the DEMG Plan.



5
      DEMG reserves the right to argue at the Confirmation Hearing that Class 2 (Secured Claims) is
Unimpaired.


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        Pursuant to the provisions of the Bankruptcy Code, only holders of claims in classes of
claims or interests that are impaired and that are not deemed to have rejected a proposed plan are
entitled to vote to accept or reject such proposed plan. Classes of claims or interests in which the
holders of claims are unimpaired under a proposed plan are deemed to have accepted such
proposed plan and are not entitled to vote to accept or reject the DEMG Plan.

       E.      VOTING PROCEDURES

        As set forth in more detail in Section VI.D of this Disclosure Statement, certain holders
of Claims are entitled to vote to accept or reject the DEMG Plan. (Reader’s Digest as the holder
of all the Equity Interests, is the only entity entitled to vote in Class 4. Pursuant to the
Disbursing Agent Agreement, Reader’s Digest will vote to accept the DEMG Plan.) For each
holder of a Claim entitled to vote, DEMG has enclosed with the Disclosure Statement, among
other things, a ballot and voting instructions regarding how to properly complete the ballot and
submit a vote with respect to the DEMG Plan. Holders of more than one Claim will receive an
individual ballot for each Claim. The individual ballots must be used to vote each individual
Claim. For detailed voting instructions, please refer to the voting instructions enclosed with this
Disclosure Statement and the ballot.

            Return completed ballots to:

            Via Regular Mail:

            Direct Entertainment Media Group, Inc. Ballot Processing Center
            c/o Epiq Bankruptcy Solutions, LLC FDR Station,
            P.O. Box 5014
            New York, New York 10150-5014

            Via Overnight Courier or Hand Delivery:

            Direct Entertainment Media Group, Inc. Ballot Processing Center
            c/o Epiq Bankruptcy Solutions, LLC
            757 Third Avenue, 3rd Floor
            New York, New York 10017

        If you are a holder of a Claim entitled to vote on the DEMG Plan and you did not receive
a ballot, received a damaged ballot, or lost your ballot or if you have any questions concerning
the Disclosure Statement, the DEMG Plan, or the procedures for voting with respect to the
DEMG Plan, please contact the Voting Agent at (866) 800-6639 (or, (503) 597-7673, if calling
from outside of the United States).

                    THE VOTING AGENT WILL NOT COUNT
             ANY BALLOTS RECEIVED AFTER THE VOTING DEADLINE.




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        F.      ALTERNATIVES TO CONFIRMATION OF THE PLAN,
                INCLUDING CONFIRMATION UNDER SECTION 1129(b)

        If the DEMG Plan is not confirmed by the requisite majorities in number and amount
required by section 1126 of the Bankruptcy Code or if any other requirement for confirmation
under the Bankruptcy Code is not satisfied, DEMG may seek to pursue another strategy to wind
down its affairs. Other options that DEMG may consider in the event that the DEMG Plan is not
confirmed include an alternative chapter 11 plan, a dismissal of its chapter 11 case and out-of-
court dissolution, an assignment for the benefit of creditors or conversion to a chapter 7 case.

        If a Class of Claims entitled to vote on the DEMG Plan rejects the DEMG Plan, DEMG
reserves the right to amend the DEMG Plan or request confirmation of the DEMG Plan pursuant
to section 1129(b) of the Bankruptcy Code or both. Section 1129(b) permits the confirmation of
a chapter 11 plan notwithstanding the rejection of such plan by one or more impaired classes of
claims or interests. Under section 1129(b), a plan may be confirmed by a bankruptcy court if it
does not “discriminate unfairly” and is “fair and reasonable” with respect to each rejecting class.

        G.      CONFIRMATION HEARING

        Pursuant to section 1128 of the Bankruptcy Code, the Confirmation Hearing will be held
on October [___], 2013 at 10:00 a.m. (Eastern Time) before the Honorable Robert D. Drain at
the United States Bankruptcy Court for the Southern District of New York, 300 Quarropas
Street, 1st Floor, Room 118, White Plains, New York 10601.

        Objections and responses to confirmation of the DEMG Plan, if any, must be served and
filed as to be received on or before the Objection Deadline, October [___], 2013 at 4:00 p.m.
(Eastern Time), in the manner described in the Disclosure Statement Order and Section IX.B of
this Disclosure Statement. The Confirmation Hearing may be adjourned from time to time
without further notice except for the announcement of the adjournment date made at the
Confirmation Hearing or at any subsequent adjourned Confirmation Hearing.

III.    OVERVIEW OF DEMG

        A.      PREPETITION CAPITAL STRUCTURE

        As of the Commencement Date, the Reorganization Plan Debtors6 had outstanding
funded debt obligations in the aggregate amount of approximately $534 million, which amount
consists of (1) approximately $60 million in secured borrowings and outstanding letters of credit
under the 2012 Senior Credit Agreement (as hereinafter defined), (2) approximately $464 million
in principal amount of Senior Notes, and (3) approximately $10 million in principal amount of
borrowing under the Unsecured Term Loan Agreement (as herein defined). As a guarantor of


6
        A description of the operations of the businesses of the Reorganization Plan Debtors is set forth in
the Disclosure Statement for Second Amended Joint Plan of Reorganization of Certain Debtors Under
Chapter 11 of the Bankruptcy Code filed by the Reorganization Plan Debtors in Case No. 13-22233
(RDD) (ECF No. 319).


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the foregoing credit facilities (more particularly discussed below), DEMG was also liable as of
the Commencement Date for approximately $534 million of funded debt obligations.7

                1.      Senior Credit Agreement

        On March 30, 2012, Reader’s Digest entered into that certain Credit and Guarantee
Agreement with Wells Fargo Bank, N.A., as administrative agent, the Guarantors (as therein
defined, and including DEMG), and Wells Fargo, as lender and issuing lender (the “2012 Senior
Credit Agreement”), providing Reader’s Digest with a $50.0 million secured term loan (the
“2012 Senior Term Loans”) and an $11.0 million letter of credit facility (the “Letter of Credit
Facility”).

        The 2012 Senior Term Loans under the 2012 Senior Credit Agreement bear interest at a
variable rate per annum, based upon Reader’s Digest’s election of a prime rate or LIBOR
(subject to a floor of 4.0% and 3.0%, respectively) plus 5.0% in the case of prime rate
borrowings and 6.0% in the case of LIBOR borrowings. The drawn letters of credit under the
Letter of Credit Facility bear an interest rate of 7.0% per annum and the Letter of Credit Facility
includes a utilization fee of 1.0% per annum, which will accrue on the total undrawn amount of
the Letter of Credit Facility. The obligations under the 2012 Senior Credit Agreement are fully
and unconditionally guaranteed on a first-priority secured basis, jointly and severally by
Reader’s Digest, RDA Holding, by all other Reorganization Plan Debtors, and by DEMG.

        As of December 31, 2012, there was approximately $49.8 million, in addition to letters of
credit totaling approximately $9.5 million, outstanding under the 2012 Senior Credit Agreement.

                2.      Senior Notes

        On February 11, 2010, RD Escrow Corporation entered into an Indenture (the
“Indenture”) with Reader’s Digest, RDA Holding, and substantially all of their then-existing
wholly-owned direct and indirect domestic subsidiaries, Wells Fargo Bank, N.A., as trustee, and
Wilmington Trust, National Association (f/k/a Wilmington Trust FSB), as collateral agent,
pursuant to which RDA issued $525.0 million in principal amount of Senior Notes in a private
offering under the Securities Act of 1933. The Senior Notes mature on February 15, 2017, and
bear interest at a rate per annum equal to LIBOR (as defined, subject to a three-month LIBOR
floor of 3.0%) plus 6.5%. The LIBOR component of the interest rate is reset quarterly and
commenced on May 15, 2010. As of December 31, 2012, there was approximately $464.4
million outstanding in respect of the Senior Notes. The obligations under the Indenture are fully
and unconditionally guaranteed on a first-priority secured basis, jointly and severally by
Reader’s Digest, RDA Holding, by all the other Reorganization Plan Debtors, and by DEMG.

      On June 15, 2012, in accordance with the requirements under the Indenture, RDA
completed a cash tender offer to purchase up to $60.7 million of its Senior Notes, at a purchase

7
         Since the Reorganization Plan Debtors were the principal beneficiaries of the borrowing under
these loan facilities, the Reorganization Plan Debtors have reached an agreement with the holders of such
claims (as set forth in the Reorganization Plan and the FTC Stipulation whereby they (and not DEMG)
shall be responsible for satisfying such claims.


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price of 95% of the principal amount thereof, plus accrued and unpaid interest thereon to the date
of purchase, at a total cost of $58.1 million.

       The Senior Notes and the obligations under the 2012 Senior Credit Agreement are
secured by a first-priority security interest in substantially all of the assets of Reader’s Digest and
the Guarantors, including DEMG, in addition to a pledge of 65% of the equity of the
Reorganization Plan Debtors’ directly-owned first-tier Foreign Subsidiaries, in each case in
accordance with and subject to the terms of that certain Security Agreement dated as of February
19, 2010 (as amended, restated, supplemented or otherwise modified from time to time, the
“Security Agreement”).

       The obligations under the 2012 Senior Credit Agreement and the Indenture are secured
by a single collateral package and rank pari passu with each other, subject to the provisions of
the Security Agreement, including section 5.5 thereof. Upon the Reorganization Plan Effective
Date, however, all outstanding amounts under the 2012 Senior Credit Agreement will be paid
under certain first-out and second-out exit facilities as to which DEMG will not be a guarantor.
At such time, the holders of Senior Notes will surrender the Senior Notes, in accordance with the
Reorganization Plan, provided however, to the extent there exists a deficiency claim, such
holders are entitled to vote to accept or reject the DEMG Plan, as a Class 3 (General Unsecured
Claim) claimant on account of their Senior Noteholder Deficiency Claim.8

               3.      Unsecured Term Loan

       On August 12, 2011, the Reorganization Plan Debtors and DEMG entered into an
unsecured term loan and guarantee agreement (the “Unsecured Credit Agreement”) with Luxor
Capital Group, LP (“Luxor”), as administrative agent, the Guarantors (as therein defined), and
the other lenders thereunder, consisting of funds affiliated with Luxor and Point Lobos Capital
(“Point Lobos”), 9 providing the Reorganization Plan Debtors and DEMG with a $10.0 million
unsecured term loan (the “Unsecured Term Loan”). The Unsecured Term Loan matures in
May 2014 and bears interest at the rate of 11.0% per annum. As of December 31, 2012, there
was $10.0 million outstanding under the Unsecured Term Loan.

        In connection with the Unsecured Term Loan, the Reorganization Plan Debtors and
DEMG issued two tranches of warrants to the lenders thereunder. The estimated fair value of
these warrants at December 31, 2012 and at the issuance date was zero and $2.9 million,
respectively.

       In addition, certain claimholders in the 2009 Restructuring (as herein defined) received
warrants, pursuant to the terms of a warrant agreement, to acquire, subject to certain terms and
conditions, shares of RDA Holding’s common stock. As of the Commencement Date, the
estimated value of such warrants was zero.



8
       The aggregate amount of Senior Noteholder Deficiency Claims is $244,923,799.20. See
Reorganization Plan Section 1.A.1.134.
9
       Luxor and Point Lobos are also holders of RDA Holding’s common stock.


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        On August 12, 2011, the Reorganization Plan Debtors and DEMG also entered into a
term loan and guarantee agreement (the “2011 Secured Credit Agreement”) with Luxor and
Point Lobos, providing the Company with a $45.0 million secured term loan (the “2011 Secured
Term Loan”). The 2011 Secured Term Loan would have matured in November 2013 and bore
interest at the rate of 7.0% per annum. On March 6, 2012, the Reorganization Plan Debtors
repaid the 2011 Secured Term Loan using net proceeds from the sale of the Allrecipes.com
business (in February 2012). The repayment included $45.0 million to satisfy the principal debt,
along with $5.0 million due under the early repayment provisions of the 2011 Secured Credit
Agreement.

        Pursuant to a settlement negotiated among the Reorganization Plan Debtors, the Creditors
Committee and Luxor as administrative agent, the parties have agreed to a resolution of their
claims in connection with the Unsecured Term Loan and the 2001 Secured Term Loan (the
“2011 Financing Settlement”) pursuant to which: (i) Luxor, as Unsecured Administrative
Agent, will receive (a) an Allowed Class 4 General Unsecured Claim of $16,939,830.55 against
Reader’s Digest (which amount represents 1.67 times the amount of the outstanding principal
and accrued but unpaid interest under the Unsecured Term Loan), for distribution purposes only,
and shall waive any right to seek any further or additional distribution under the DEMG Plan,
and (b) Allowed Class 4 General Unsecured Claims against Reader’s Digest in the total
aggregate amount of $1.00 against each of the other Reorganization Plan Debtors for voting
purposes only; and (ii) the Unsecured Administrative Agent, the Unsecured Lenders, the 2011
Secured Administrative Agent and the 2011 Secured Lenders shall receive general releases by
the Reorganization Plan Debtors, the other Released Parties and, to the extent authorized by the
Bankruptcy Court, the holders of Claims against, and Interests in, the Reorganization Plan
Debtors. As a consequence of the 2011 Financing Settlement, and based upon the Unsecured
Lenders treatment in the confirmed Reorganization Plan, none of the Unsecured Administrative
Agent, the Unsecured Lenders, the 2011 Secured Administrative Agent and the 2011 Secured
Lenders hold any Claims against the DEMG Estate, and accordingly no such Claims have been
classified in the DEMG Plan.

       B.      DEMG’S PRE-BANKRUPTCY OPERATIONS

        In 2007, RDA was acquired in a leveraged buyout by Ripplewood, a private equity firm.
At the time of the acquisition, Ripplewood owned the assets of Direct Holdings Americas, Inc.
(“DHA”) and certain related entities, and thereby held a worldwide license to market the well-
known Time-Life series of books, videos and music offerings, which for many years had been
marketed on television as one of the earliest direct response television efforts. After giving
effect to the corporate transaction whereby Ripplewood acquired RDA, DHA and related entities
became subsidiaries of RDA.

        After the RDA acquisition, DHA, which was based in Fairfax, Virginia, continued to
market Time-Life products. To achieve efficiencies of scale and eliminate redundancies, RDA
provided DHA with back-office functions such as accounting, payroll and vendor payments.
RDA did not directly manage the day-to-day operation of DHA, which continued to function
largely as it had since 2003 when the Time-Life business was acquired from Time Inc. and Time
Warner. In late 2008, some of the DHA executives were presented with the opportunity to
license the rights to market the Ab Circle Pro fitness product (“Ab Circle Pro”) in the United


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States. The opportunity was deemed worthy of investigation, because it would leverage the
existing direct response television expertise at DHA. Because DHA existed primarily to market
books, videos and music under the Time-Life license, a new and independent corporation –
DEMG – was created as a subsidiary of RDA to operate this different line of business.
Furthermore, because the two direct response businesses conducted by DHA and DEMG were so
different than the RDA business, they were placed into their own segment for business and
financial reporting, known as Lifestyle and Entertainment Direct. By the end of 2011, all direct
marketing of the Ab Circle Pro ceased and certain lifestyle and entertainment direct response
product lines (including certain assets of DEMG) were thereafter sold in July 2012.

         On August 24, 2009, DEMG and certain of the Reorganization Plan Debtors filed
voluntary petitions for relief under chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of New York (the “2009 Restructuring”). At that
time, the principal factors that necessitated the commencement of the 2009 Restructuring
included, among other things, burdensome debt obligations, reduced advertising and consumer
spending, credit shortages, and increased postal and delivery costs. DEMG and the other
affiliated debtors in the 2009 Restructuring emerged from chapter 11 in February 2010.
Thereafter, continued downward trends in publishing and direct marketing undermined the
ability of the affiliated companies, including DEMG, to stabilize. Although financial projections
anticipated some decline in revenue, the actual declines occurred at rates higher than anticipated,
and against factors the affiliated companies were not able to predict, including challenging
economic environments in the international business segments.

IV.    KEY EVENTS LEADING TO THE COMMENCEMENT OF DEMG’S CHAPTER
       11 CASE

       A.      FTC CLAIM

        On April 19, 2010, the FTC launched an investigation into DEMG’s marketing of the Ab
Circle Pro.

        In connection with a negotiated settlement among DEMG, DHA (together, the “DEMG
Defendants”), the FTC, and Reader’s Digest, on August 22, 2012, the FTC commenced an
action in the Southern District of Florida (Case No. 12-23065 (CMA)) by filing a complaint (the
“FTC Complaint”) alleging certain deceptive acts or practices and false advertisements by
DEMG related to the marketing and sale of the Ab Circle Pro. The FTC Complaint did not
allege any wrongdoing by Reader’s Digest.

        The FTC, the DEMG Defendants, and Reader’s Digest memorialized their negotiated
settlement in that certain Stipulated Final Judgment and Order for Permanent Injunction and
Other Equitable Relief Against Defendants Direct Holdings Americas, Inc. and Direct
Entertainment Media Group, Inc., and Relief Defendant The Reader’s Digest Association, Inc.,
entered August 28, 2012 (the “Stipulated Judgment”). Although the FTC Complaint did not
allege any wrongdoing by Reader’s Digest, Reader’s Digest, nevertheless, agreed to be named in
the Stipulated Judgment as a relief defendant, thereby making Reader’s Digest jointly
responsible for payment of the settlement amount.




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        Pursuant to the Stipulated Judgment, DEMG, as a direct defendant, and Reader’s Digest,
as relief defendant, jointly and severally agreed to a judgment of approximately $31.2 million.
The Stipulated Judgment provided, however, that the aggregate amount to be paid by Reader’s
Digest and the DEMG Defendants would be reduced upon satisfaction of certain payment
milestones and deadlines. By complying with the milestones in the Stipulated Judgment, the
DEMG Defendants and Reader’s Digest would be responsible to make payments to the FTC in
an aggregate amount ranging from approximately $14 million to $24 million based on the level
of consumer redress requested by Ab Circle Pro purchasers.10 In the event that Reader’s Digest
and the DEMG Defendants failed to make a required payment when due, the entire $31.2 million
judgment less any sums already paid by Reader’s Digest and DEMG would become due. As of
the Commencement Date, the FTC had been paid $5 million pursuant to the Stipulated
Judgment.

        As a result of the commencement of the Chapter 11 Cases, the FTC has asserted a general
unsecured claim against each of Reader’s Digest and DEMG in the amount of $26,667,200.
Specifically, the FTC asserts that, pursuant to Section V.C of the Stipulated Judgment, because
Readers Digest and DEMG filed their respective Chapter 11 petitions on February 18, 2013 and
failed to make a required $5 million judgment payment due on February 24 under the Stipulated
Judgment, the amount the FTC is owed pursuant to the Stipulated Judgment is $26,667,200 - the
difference between the entire judgment amount, $31,667,200, less the $5 million it previously
paid to the FTC. Inasmuch as DEMG has proposed a plan of liquidation and is not continuing in
business, pursuant to section 1141(d)(3) of the Bankruptcy Code, neither the DEMG Plan nor
any order confirming such plan will discharge any claims against DEMG.11

       The FTC’s claims against DEMG and the Reorganization Plan Debtors are addressed in
the FTC Stipulation. Pursuant to the FTC Stipulation, the Reorganization Plan Debtors, DEMG,
and the FTC agreed that the FTC shall have an allowed, general unsecured claim in the amount
of $26,667,200 in the chapter 11 case of DEMG and in the chapter 11 case of Reader’s Digest.
The Reorganization Plan Debtors further agreed to pay the FTC a one-time cash payment in the
amount of $500,000 on the Reorganization Plan Effective Date.

        Additionally, as a result of the Stipulated Judgment, Mosaic Media Investment Partners
LLC (“Mosaic”), which purchased DHA as part of a transaction with RDA in July 2012, has
asserted a general unsecured claim against Reader’s Digest and DEMG. Mosaic alleges that
Reader’s Digest and DEMG are liable to indemnify Mosaic for amounts that Mosaic may be
required to pay in connection with the Stipulated Judgment. Mosaic has asserted general
unsecured claims against each of Reader’s Digest and DEMG exceeding $31 million. Pursuant
to a certain stipulation entered into between Mosaic, Reader’s Digest and DEMG, filed with the
10
         The Stipulated Judgment further provided that the FTC (or its agents) would use the payments for
consumer redress or other monetary equitable relief. If the “Total Redress Amount,” which is defined as
the total amount of consumer redress plus the costs of administration, is greater than $15 million,
Reader’s Digest and the DEMG Defendants are required to pay up to $10 million in additional funds to
the FTC, which would increase the aggregate amount from $14 million up to a maximum amount of $24
million.
11
      The FTC would have asserted that the Stipulated Judgment was nondischargeable against DEMG,
if DEMG was otherwise entitled to receive a bankruptcy discharge.


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Bankruptcy Court on July 16, 2013, Mosaic, among other things, shall have an Allowed Claim
against DEMG in the amount of $2,500,000, if, and only if, consent is obtained from the FTC
with respect to the claim (which consent may be manifested through non-objection).

V.     THE CHAPTER 11 CASES

       A.      FIRST DAY PLEADINGS

        On the Commencement Date, or soon thereafter, the Reorganization Plan Debtors and
DEMG filed certain “first-day” motions (collectively, the “First Day Pleadings”) seeking
certain immediate relief from the Bankruptcy Court that would allow the Reorganization Plan
Debtors and DEMG to continue to operate in chapter 11 and avoid immediate and irreparable
harm due to the commencement of the Chapter 11 Cases. A description of the First Day
Pleadings is set forth in the Declaration of Robert E. Guth Pursuant to Local Bankruptcy Rule
1007-2, dated February 17, 2012 (Case No. 13-22233-rdd, ECF No. 3). By separate orders, the
Bankruptcy Court granted the relief requested in the First Day Pleadings, on interim and/or final
bases, as applicable.

       B.      DIP FACILITY

       On February 18, 2013, the Reorganization Plan Debtors and DEMG filed a motion to
approve a consensual, priming, debtor-in-possession credit facility (the “DIP Facility”) in the
aggregate principal amount of approximately $105 million, comprised of (1) a term loan in the
aggregate principal amount of $45 million (the “New Money Loan”), and (2) a refinancing term
loan and letter of credit facility in the aggregate amount of approximately $60 million (the “Roll-
Up Facility” and, together with the New Money Loan, the “DIP Loans”).

       The Reorganization Plan Debtors and DEMG obtained postpetition financing pursuant to
that certain Credit and Guarantee Agreement (the “DIP Loan Agreement”), dated as of
February 22, 2013, by and among Reader’s Digest, as borrower, its affiliated debtors, as
guarantors, and Wilmington Trust, National Association, as administrative agent for the lenders
party thereto (the “DIP Lenders”). The DIP Lenders are comprised of (1) certain Senior
Noteholders party to a certain commitment letter, dated February 17, 2013, in respect of the New
Money Loan, and (2) Wells Fargo, in respect of the Roll-Up Facility.

        By order, dated February 21, 2013, the Bankruptcy Court approved the DIP Facility on
an interim basis, authorizing the Reorganization Plan Debtors and DEMG to draw $11 million on
account of the New Money Loan. On March 25, 2013, the Bankruptcy Court entered a final
order approving the DIP Facility. Upon entry of the final order, the Reorganization Plan Debtors
and DEMG drew the remaining $34 million available under the New Money Loan. All amounts
available under the Roll-Up Facility were drawn and used to repay in full all outstanding
obligations under the 2012 Senior Credit Agreement.

        The proceeds of the New Money Loan were applied to working capital and other general
corporate purposes of the Reorganization Plan Debtors and DEMG, and the proceeds of the Roll-
Up Facility were applied to amounts outstanding under the 2012 Secured Credit Agreement
(including a roll-over of the letters of credit issued under the Letter of Credit Facility). The DIP
Loans are secured by a perfected first-priority, senior priming lien on all of the Collateral (as


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defined in the DIP Loan Agreement) of the Reorganization Plan Debtors’ and DEMG’s
respective estates in the Chapter 11 Cases, subject to a limited carve-out for fees pertaining to the
cases. Further, the Reorganization Plan filed by the Reorganization Plan Debtors contemplates
that the DIP Loans will be converted into exit financing upon consummation of the
Reorganization Plan, in accordance with the terms and conditions set forth in the First Out Exit
Term Sheet and the Second Out Exit Term Sheet.

       C.      CREDITORS COMMITTEE

        On February 28, 2013, the United States Trustee for the Southern District of New York
(the “U.S. Trustee”) appointed the Creditors Committee pursuant to section 1102 of the
Bankruptcy Code to represent the interests of unsecured creditors in these Chapter 11 Cases.
The members of the Creditors Committee include: (1) HCL America, Inc., (2) Quad/Graphics,
Inc., and (3) Daniel Meehan. The Creditors Committee is represented by Otterbourg, Steindler,
Houston & Rosen, P.C. As the Creditors Committee contains no creditors of DEMG it will be
dissolved pursuant to the Reorganization Plan upon the Reorganization Plan Effective Date.

       D.      SCHEDULES AND BAR DATES

         On March 14, 2013, the Reorganization Plan Debtors and DEMG filed a motion for entry
of an order (1) establishing (a) May 6, 2013 at 5:00 p.m. (Eastern Time) as the deadline for each
person or entity (including, without limitation, individuals, partnerships, corporations, joint
ventures, and trusts, but not including governmental units to file proofs of claim in respect of a
prepetition claim against any of the Reorganization Plan Debtors or DEMG, and (b) August 16,
2013 at 5:00 p.m. (Eastern Time) as the deadline for governmental units to file proofs of claim in
respect of a prepetition claim against any of the Reorganization Plan Debtors or DEMG; (2)
approving May 28, 2013 at 5:00 p.m. (Eastern Time) as the deadline for all parties, including
governmental units, to file complaints, pursuant to section 523(c), including as may be
incorporated under section 1141(d)(6)(A), of the Bankruptcy Code, to determine or challenge the
dischargeability of any claim against, or debt of, any of the Reorganization Plan Debtors or
DEMG; and (3) approving certain other related procedures. The Bankruptcy Court approved the
relief set forth in the motion by order dated March 25, 2013 (Case No. 13-22233, ECF No. 165).

       On March 18, 2013, the Reorganization Plan Debtors and DEMG filed their schedules of
assets and liabilities, schedules of current income and expenditures, schedules of executory
contracts and unexpired leases, and statements of financial affairs (collectively, the
“Schedules”).

        On July 2, 2013, DEMG filed an application for entry of an order (1) establishing August
30, 2013 at 5:00 p.m. (Eastern Time) as the deadline each person or entity (including, without
limitation, individuals, partnerships, corporations, joint ventures, trusts, and governmental units
to file proofs of claim in respect of Administrative Expense Claims against DEMG, and (2)
approving certain other related procedures. The Bankruptcy Court approved the relief set forth
in the motion by order dated July [____], 2013 (Case No. 13-22233, ECF No. ____).




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       E.      LIQUIDATION AND WIND-DOWN

       After careful review, DEMG, in consultation with its advisors, has determined that a
chapter 11 plan of liquidation is the best and most efficient way to wind down its business and
maximize value for its creditors.

VI.    THE LIQUIDATION PLAN

       A.      INTRODUCTION

       This section of the Disclosure Statement summarizes the DEMG Plan, a copy of which is
attached as Exhibit A hereto. This summary is qualified in its entirety by reference to the
provisions of the DEMG Plan.

        In general, a chapter 11 plan divides claims and equity interests into separate classes,
specifies the property that each class is to receive under the DEMG Plan, and contains other
provisions necessary to implement the DEMG Plan.

        Under the Bankruptcy Code, “claims” and “equity interests,” rather than “creditors” and
“equity holders,” are classified because creditors and equity holders may hold claims and equity
interests in more than one class.

       Statements as to the rationale underlying the treatment of Claims and Interests under the
DEMG Plan are not intended to, and will not, waive, compromise or limit any rights, claims or
causes of action in the event the DEMG Plan is not confirmed.

              YOU SHOULD READ THE DEMG PLAN IN ITS ENTIRETY
            BEFORE VOTING TO ACCEPT OR REJECT THE DEMG PLAN.

       B.      CLASSIFICATION AND TREATMENT OF
               CLAIMS AND INTERESTS UNDER THE DEMG PLAN

        One of the key concepts under the Bankruptcy Code is that only claims and equity
interests that are “allowed” may receive distributions under a chapter 11 plan. This term is used
throughout the DEMG Plan and the descriptions below. In general, an “allowed” claim or
“allowed” equity interest simply means that the debtor agrees, or in the event of a dispute, that
the Bankruptcy Court determines, that the claim or equity interest, and the amount thereof, is in
fact a valid obligation of the debtor. Section 502(a) of the Bankruptcy Code provides that a
timely filed claim or equity interest is automatically “allowed” unless the debtor or other party in
interest objects. However, section 502(b) of the Bankruptcy Code specifies certain claims that
may not be “allowed” in bankruptcy even if a proof of claim is filed. These include, but are not
limited to, claims that are unenforceable under the governing agreement between a debtor and
the claimant or applicable non-bankruptcy law, claims for unmatured interest, property tax
claims in excess of the debtor’s equity in the property, claims for services that exceed their
reasonable value, real property lease and employment contract rejection damage claims in excess
of specified amounts, late-filed claims, and contingent claims for contribution and
reimbursement. In addition, Rule 3003(c)(2) of the Federal Rules of Bankruptcy Procedure (the


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“Bankruptcy Rules”) prohibits the allowance of any claim or equity interest that either is not
listed on the debtor’s schedules or is listed as disputed, contingent or unliquidated, if the holder
has not filed a proof of claim or equity interest before the established deadline.

        The Bankruptcy Code requires that, for purposes of treatment and voting, a chapter 11
plan divide the different claims against, and equity interests in, the debtor into separate classes
based upon their legal nature. Claims of a substantially similar legal nature are not necessarily
classified together, nor are equity interests of a substantially similar legal nature necessarily
classified together. Because an entity may hold multiple claims and/or equity interests which
give rise to different legal rights, the “claims” and “equity interests” themselves, rather than their
holders, are classified.

        Under a chapter 11 plan, the separate classes of claims and equity interests must be
designated either as “impaired” (affected by the DEMG Plan) or “unimpaired” (unaffected by the
DEMG Plan). If a class of claims is “impaired,” the Bankruptcy Code affords certain rights to
the holders of such claims, such as the right to vote on the DEMG Plan, and the right to receive,
under the chapter 11 plan, no less value than the holder would receive if the debtor were
liquidated in a case under chapter 7 of the Bankruptcy Code. Under section 1124 of the
Bankruptcy Code, a class of claims or interests is “impaired” unless the DEMG Plan (1) does not
alter the legal, equitable and contractual rights of the holders, or (2) irrespective of the holders’
acceleration rights, cures all defaults (other than those arising from the debtor’s insolvency, the
commencement of the case or nonperformance of a nonmonetary obligation), reinstates the
maturity of the claims or interests in the class, compensates the holders for actual damages
incurred as a result of their reasonable reliance upon any acceleration rights, and does not
otherwise alter their legal, equitable, and contractual rights.

        Pursuant to section 1126(f) of the Bankruptcy Code, holders of unimpaired claims or
interests are “conclusively presumed” to have accepted the DEMG Plan. Accordingly, their
votes are not solicited. Under the DEMG Plan, Class 1 (Other Priority Claims) is unimpaired,
and therefore, the holders of such Claims are “conclusively presumed” to have voted to accept
the DEMG Plan.

        Class 2 (Secured Claims), Class 3 (General Unsecured Claims) and Class 4 (Equity
Interests) are impaired under the DEMG Plan and are entitled to vote to accept or reject the
DEMG Plan.

       C.      UNCLASSIFIED CLAIMS

               1.      Administrative Expense Claims

       Administrative Expense Claims are the actual and necessary costs and expenses of
administration during the DEMG Case pursuant to sections 328, 330, 363, 364(c)(1), 365, 503(b)
or 507(a)(2) of the Bankruptcy Code, including, (1) the actual and necessary costs and expenses
incurred after the Commencement Date and through the Effective Date of preserving the DEMG
Estate and operating DEMG’s business (such as wages, salaries or commissions for services and
payments for goods and other services and leased premises); (2) Fee Claims and (3) all fees and




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charges assessed against the Estates pursuant to section 1911 through 1930 of chapter 123 of title
28 of the United States Code, 28 U.S.C. §§ 1-1401.

       Except to the extent that a holder of an Allowed Administrative Expense Claim and
DEMG agree to different treatment, the Liquidating Debtor shall pay to each holder of an
Allowed Administrative Expense Claim Cash in an amount equal to such Claim on, or as soon
thereafter as is reasonably practicable, the later of (a) the Effective Date and (b) the first
Business Day after the date that is thirty (30) calendar days after the date such Administrative
Expense Claim becomes an Allowed Administrative Expense Claim.

               2.      Fee Claims

         All Entities seeking an award by the Bankruptcy Court of Fee Claims against DEMG (a)
shall file their respective final applications for allowance of compensation for services rendered
and reimbursement of expenses incurred by the day that is forty-five (45) days after the Effective
Date, (b) shall be paid in full by the Liquidating Debtor in such amounts as Allowed by the
Bankruptcy Court (i) upon the later of (A) the Effective Date and (B) the date upon which the
order relating to any such Allowed Fee Claim is entered or (ii) upon such other terms as may be
mutually agreed upon between the holder of such an Allowed Fee Claim and the Liquidating
Debtor. The Liquidating Debtor is authorized to pay compensation for services rendered or
reimbursement of expenses incurred after the Effective Date in the ordinary course and without
the need for Bankruptcy Court approval.

               3.      Priority Tax Claims

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a
different treatment, each holder of an Allowed Priority Tax Claim shall be paid by the
Liquidating Debtor (a) in full, in Cash, in an amount equal to such Allowed Priority Tax
Claim on, or as soon thereafter as is reasonably practicable, the later of (i) the Effective Date,
(ii) the first Business Day after the day that is thirty (30) calendar days after the date such
Priority Tax Claim becomes an Allowed Priority Tax Claim, and (iii) the date such Allowed
Priority Tax Claim becomes due and payable in the ordinary course, or (b) in equal annual
Cash payments in an aggregate amount equal to such Allowed Priority Tax Claim
commencing on, or as soon thereafter as is reasonably practicable, the later of the dates
specified in clause (a), together with interest at the applicable rate under section 511 of the
Bankruptcy Code, over a period not exceeding five (5) years after the Commencement Date;
provided that, in the case of clause (b), such payments must be made in a manner not less
favorable than the most favored non-priority unsecured Claim provided for under the Plan,
and DEMG reserves the right to prepay all or a portion of such Allowed Priority Tax Claim at
any time.

       As of the date hereof, the estimated Allowed amount for Priority Tax Claims is
approximately $13,000.




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               4.     DIP Claims

        Any and all DIP Claims against DEMG shall be satisfied in accordance with the
provisions of the Reorganization Plan and the Liquidating Debtor shall have no liability with
respect to the payment or other satisfaction of such Claims.

               5.     2012 Senior Credit Agreement Claims

        All obligations and claims in respect of the 2012 Senior Credit Agreement shall be
satisfied in accordance with the provisions of the Reorganization Plan and the Liquidating
Debtor shall have no liability with respect to the payment or other satisfaction of the 2012
Senior Credit Agreement Claims.

               6.     Roll-Up Loans

        The Roll-Up Loans and any related obligations shall be satisfied in accordance with the
provisions of the Reorganization Plan and the Liquidating Debtor shall have no liability with
respect to the payment or satisfaction of such Claims.

               7.     Indenture Trustee Fees

       Any and all Indenture Trustee Fees shall be satisfied in accordance with the provisions
of the Reorganization Plan and the Liquidating Debtor shall have no liability with respect to
the payment or other satisfaction of the Indenture Trustee Fees.

               8.     Special Provision Governing Unimpaired Claims

        Except as otherwise provided in the DEMG Plan, nothing under the DEMG Plan shall
affect the rights of DEMG, in respect of any Unimpaired Claims, including all rights in respect
of legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired
Claims.

               9.     Elimination of Vacant Classes

        Any Class of Claims or Interests that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount
greater than zero for voting purposes shall be considered vacant, deemed eliminated from the
DEMG Plan for purposes of voting to accept or reject the DEMG Plan, and disregarded for
purposes of determining whether the DEMG Plan satisfies section 1129(a)(8) of the
Bankruptcy Code with respect to that Class.

       D.      CLASSIFIED CLAIMS AND INTERESTS

               1.     Class 1 – Other Priority Claims

       Class 1 is Unimpaired by the DEMG Plan. Each holder of an Allowed Other Priority
Claim against DEMG is conclusively presumed to have accepted the DEMG Plan pursuant to



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section 1126(f) of the Bankruptcy Code and is not entitled to vote to accept or reject the
DEMG Plan.

        Except to the extent that a holder of an Allowed Other Priority Claim against DEMG
has agreed to less favorable treatment of such Claim, each such holder shall receive, in full and
final satisfaction of such Claim, Cash in an amount equal to such Claim, payable on the later
of the Effective Date and the date on which such Other Priority Claim becomes an Allowed
Other Priority Claim, in each case, or as soon as reasonably practical thereafter.

       As of the date hereof, the estimated Allowed amount of Other Priority Claims is $0.

               2.      Class 2 – Secured Claims

        Class 2 consists of the all Secured Claims. To the extent that Secured Claims are
secured by different collateral or different interests in the same collateral, such Claims shall
be treated as separate subclasses of Class 2.

        Class 2 is Impaired by the DEMG Plan. Each holder of an Allowed Secured Claim
against DEMG is entitled to vote to accept or reject the DEMG Plan; provided, however, that
DEMG reserves the right to argue at the Confirmation Hearing that any or all of Class 2
(Secured Claims) is Unimpaired.

        Except to the extent that a holder of an Allowed Secured Claim against DEMG has
agreed to less favorable treatment of such Claim, each holder of an Allowed Other Secured
Claim shall receive in full in Cash in full and final satisfaction of such Claim, at DEMG’s
option, either (i) Cash in an amount equal to such claim, payable on the later of the Effective
Date and the date on which such Secured Claim becomes an Allowed Secured Claim, or, in
each case, as soon as reasonably practical thereafter, or (ii) delivery of the collateral securing
such Allowed Secured Claim and payment of any interest required under Section 506(b) of
the Bankruptcy Code, or (iii) such other recovery necessary to satisfy section 1129 of the
Bankruptcy Code.

       As of the date hereof, the estimated Allowed amount of Secured Claims is $0 after
giving effect to the FTC Stipulation.

               3.      Class 3 – General Unsecured Claims

      Class 3 is Impaired by the DEMG Plan. Each holder of an Allowed General
Unsecured Claim against DEMG is entitled to vote to accept or reject the DEMG Plan.

        On the Effective Date, or as soon thereafter as is reasonably practicable, except to the
extent that a holder of an Allowed General Unsecured Claim agrees to less favorable
treatment of such Allowed General Unsecured Claim or has been paid before the Effective
Date, each holder of an Allowed General Unsecured Claim, shall receive its Pro Rata share of
Available Cash; provided, however, that pursuant to the FTC Stipulation, the holders of
Senior Noteholder Deficiency Claims have agreed to waive their distribution but shall be
entitled to vote to accept or reject the DEMG Plan on account of their claims.



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       As of the date hereof, the estimated Allowed amount of General Unsecured Claims is
approximately $30 million.

               4.     Class 4 – Equity Interests

        Class 4 is Impaired by the DEMG Plan. Each holder of an Allowed Equity Interest is
entitled to vote to accept or reject the DEMG Plan.

        The holders of the Equity Interests shall retain such Interests, provided, however, that
no distribution of any property of the Liquidating Debtor shall be made to such holder unless
and until all Allowed General Unsecured Claims are paid in full with applicable interest and
provided, further, that once all distributions under the DEMG Plan have been made, the
Liquidating Debtor shall be dissolved and such Interests shall be cancelled and of no further
effect.

       E.      MEANS OF IMPLEMENTATION OF PLAN

               1.     Compromise and Settlement of Claims, Interests and Controversies

        Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule
9019 and in consideration for the distributions and other benefits provided pursuant to the
DEMG Plan, the provisions of the DEMG Plan will constitute a good faith compromise of all
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights
that a holder of a Claim may have with respect to any Allowed Claim or any distribution to be
made on account of such Allowed Claim. The entry of the Confirmation Order will constitute
the Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests,
and controversies, including without limitation the Disbursing Agent Agreement, as well as a
finding by the Bankruptcy Court that such compromise or settlement is in the best interests of
DEMG, its Estate, and holders of Claims and Interests and is fair, equitable, and reasonable. In
accordance with the provisions of the DEMG Plan, pursuant to sections 363 and 1123(b)(3) of
the Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to or action,
order, or approval of the Bankruptcy Court, prior to the Effective Date, DEMG may compromise
and settle Claims against its Estate, and Causes of Action against other Entities.

               2.     Wind Down

       From and after the Effective Date, the Liquidating Debtor, subject to other provisions of
the DEMG Plan, shall take such actions as may be reasonably calculated to maximize the
recovery to holders of Claims.

        The Liquidating Debtor shall have the power and authority to perform the following acts
(together, the “Wind Down”), in addition to any powers granted by law or conferred by any
other provision of the DEMG Plan and orders of the Bankruptcy Court; provided, however, that
enumeration of the following powers shall not be considered in any way to limit or control the
power of the Liquidating Debtor to act as specifically authorized by any other provision of the
DEMG Plan or orders of the Bankruptcy Court, and to act in such manner as may be necessary
or desirable to discharge all obligations assumed by the Liquidating Debtor as provided in the
DEMG Plan, including without limitation and by example only:


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                   (a)    determine tax issues or liabilities in accordance with section 505 of
                   the Bankruptcy Code;

                   (b)   resolve any objections to the allowance or priority of Claims,
                   Administrative Expenses Claims or Interests;

                   (c)    resolve any dispute as to the treatment necessary to reinstate a
                   Claim, Administrative Expense Claims or Interest, pursuant to the DEMG
                   Plan;

                   (d)    distribute Cash in the DEMG Estate to creditors consistent with the
                   terms of the DEMG Plan;

                   (e)    perfect and secure the Liquidating Debtor’s right, title and interest
                   to property of the DEMG Estate;

                   (f)     manage and protect property of the DEMG Estate and distribute
                   the net proceeds of the sale of such property consistent with the terms of
                   the DEMG Plan;

                   (g)    purchase or continuance of insurance to protect the Liquidating
                   Debtor and property of the DEMG Estate;

                   (h)     deposit DEMG funds, draw checks and make disbursements
                   thereof consistent with the terms of the DEMG Plan;

                   (i)     employ, retain and compensate, and discharge and dismiss, without
                   further order of the Bankruptcy Court, professionals as the Liquidating
                   Debtor may deem necessary or desirable to assist in fulfilling the purposes
                   of the DEMG Plan, including the continued retention and payment of
                   professionals in connection with any ongoing litigation or other matters
                   pursued or conducted by the Liquidating Debtor whether on an hourly, flat
                   fee or contingency basis;

                   (j)     commence or prosecute in the name of the Liquidating Debtor any
                   lawsuit or other legal or equitable action (except to the extent released
                   pursuant to the terms of the DEMG Plan), including, without limitation,
                   filing objections to, or estimation of, Claims, in any court of competent
                   jurisdiction, which are necessary to carry out the terms and conditions of
                   the DEMG Plan;

                   (k)     settle, compromise or adjust any disputes or controversies in favor
                   of, or against, the Liquidating Debtor;

                   (l)    incur and pay all Plan expenses and reasonable costs and expenses
                   incident to the performance of the duties of the Liquidating Debtor under
                   the DEMG Plan, including without limitation, reasonable rent for office



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                         space and storage, office supplies, travel and expense reimbursement,
                         insurance, and other obligations;

                         (m)     prepare and file tax returns, as mandated by applicable local, state,
                         federal and foreign law;

                         (n)    seek entry of a Final Decree at the appropriate time; and

                         (o)    take such other actions as the Liquidating Debtor may determine to
                         be necessary or desirable to carry out the purpose of the DEMG Plan.

                  3.     Continued Corporate Existence

       From and after the Effective Date through and including the date of its dissolution under
applicable law, (a) the Liquidating Debtor will continue to exist as a separate corporation. Such
corporate and (b) the Liquidating Debtor shall retain all of the powers of corporations under
applicable non-bankruptcy law, and without prejudice to any right to amend its charter, dissolve,
merge or convert into another form of business entity, or to alter or terminate its existence,
provided that the Liquidating Debtor’s sole purpose from and after the Effective Date will be to
make distributions to creditors holding Allowed Claims consistent with the DEMG Plan and to
otherwise effectuate the Wind Down.

                  4.     DEMG’s Assets

                         (a)    Assets Remaining in DEMG Estate

       Other than Cash, DEMG believes after reasonable investigation and diligence, that the
following assets will remain in the DEMG Estate as of the Effective Date:

                 Assets                DEMG Book Value           Estimated Realizable Cash Value
     i.   Claims Against RDA and         $7,290,327.03                      $250,000
          other Reorganization Plan
          Debtors
  ii.     Accounts Receivable                 $012                               $0
 iii.     Inventory                           $013                               $0
 iv.      Postage Advance                     $722                              $722
  v.      Avoidance Actions                     -                               $014

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        Accounts receivable have a net balance of $0, on DEMG’s balance sheet, based on aged accounts
receivable with a gross of $230,000 that is fully reserved. From time to time DEMG collects
inconsequential amounts of accounts receivables.
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        Inventory has a net balance of $0, on DEMG’s balance sheet, based on $29,000 in gross
inventory that is fully reserved. This inventory consists of Ab Circle Pro units and replacement parts,
each respectively represent approximately one-half the gross value. There is minor usage activity in
inventory each month for replacement parts.
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         Under the terms of the DEMG Plan, DEMG shall not retain any Claims or Causes of Actions
arising under chapter 5 of the Bankruptcy Code against holders of Allowed General Unsecured Claims.


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                      (b)     Disposition of DEMG Assets

       The Liquidating Debtor shall monetize all property of the DEMG Estate, subject to the
following conditions:

                                i.     Court approval. Bankruptcy Court approval shall not be
necessary for any disposition of property of the DEMG Estate if such property is sold for Cash
for its fair market value in an arm’s length transaction with a party unrelated to the Debtors. All
other dispositions of property of the DEMG Estate shall be subject to the Notice and Hearing
Requirements.

                            ii.     Sale Proceeds. Except with Bankruptcy Court approval, all
sales of property of the DEMG Estate shall be for Cash.

                             iii.  Abandonment. The Liquidating Debtor may abandon any
property of the DEMG Estate which, in the exercise of its business judgment, the Liquidating
Debtor reasonably believes is burdensome to the DEMG Estate or is of inconsequential value
and benefit to the DEMG Estate.

               5.     Disbursing Agent

       The Disbursing Agent shall make all distributions required under the DEMG Plan in
accordance with the Disbursing Agent Agreement, provided however, for the avoidance of doubt
the Disbursing Agent shall have no obligation to reconcile claims. Upon the Effective Date,
Reader’s Digest shall serve as the initial Disbursing Agent. Except as otherwise provided in the
Disbursing Agent Agreement, the Disbursing Agent shall be entitled to receive from the DEMG
Estate reasonable compensation for its services as disbursing agent and shall be entitled to
reimbursement of all of its reasonable out-of-pocket expenses incurred in connection with its
services as Disbursing Agent. All payments made to the Disbursing Agent shall be disclosed in
the Final Report, but shall not be subject to Bankruptcy Court approval.

        The Disbursing Agent shall not be required to give any bond or surety or other security
for the performance of its duties, and all reasonable fees and expenses incurred by such
Disbursing Agent shall be reimbursed by the Liquidating Debtor, except as otherwise provided
in the Disbursing Agent Agreement.

       The Disbursing Agent shall hold the Available Cash in a segregated non-interest bearing
account.

       The Disbursing Agent shall be empowered to (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties hereunder, (b)
make all distributions contemplated hereby and (c) exercise such other powers as may be vested
in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the DEMG Plan, or as
deemed by the Disbursing Agent to be necessary and proper to implement the provisions of the
DEMG Plan.




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        Pursuant to the Disbursing Agent Agreement, in consideration for serving as the
Disbursing Agent, Reader’s Digest shall be entitled to certain indemnifications, exculpations and
releases arising out of or relating to the Disbursing Agent Agreement and the services provided
thereunder. See Section 2(f) of the Disbursing Agent Agreement.

               6.     Allowance of Claims

                      (a)    Generally

        All Claims and Interests asserted against the DEMG Estate shall be subject to allowance
or disallowance in accordance with the Bankruptcy Code and Bankruptcy Rules, consistent with
the process set forth in Section 7 of the DEMG Plan.

                      (b)    The FTC Claim, Mosaic Claim and Senior Noteholder
                             Deficiency Claim

       The principal general unsecured claims against DEMG are those asserted by FTC,
Mosaic and the Senior Noteholders. Pursuant to the FTC Stipulation, the FTC’s claim against
DEMG has been allowed as a General Unsecured Claim in the amount of $26,667,200 and
Senior Noteholders shall have a General Unsecured Claim for any deficiency claim arising from
the Indenture, to which the Senior Noteholders have agreed to waive any distribution with
respect to such claims. Pursuant to an agreement, in principle, reached among the
Reorganization Plan Debtors, DEMG and Mosaic, Mosaic’s claim against DEMG will be
allowed as a General Unsecured Claim in the amount of $2,500,000.

               7.     Distributions

       All distributions to holders of Allowed Claims shall be made by the Disbursing Agent in
accordance with Section 6 of the DEMG Plan and the Disbursing Agent Agreement.

               8.     Governance

        From and after the Effective Date, the Liquidating Debtor shall be managed and
administered by its board of directors, so long as such board has at least one member. Any
vacancies on the board of directors shall be filled in accordance with DEMG’s organization
documents. As of the Effective Date, the provisions of the DEMG Plan applicable to the
corporate governance of the Liquidating Debtor shall supersede any contrary provision of the
certificate of incorporation, bylaws, or certificate of incorporation of the Liquidating Debtor,
which, pursuant to the DEMG Plan, are deemed amended to so provide.

               9.     Cancellation of Liens

        Except as otherwise specifically provided in the DEMG Plan with respect to Class 2,
upon the occurrence of the Effective Date, any Lien securing any Secured Claim shall be deemed
released, and the holder of such Secured Claim shall be authorized and directed to release any
collateral or other property of the Liquidating Debtor (including any Cash collateral) held by
such holder and to take such actions as may be requested by the Liquidating Debtor, to evidence



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the release of such Lien, including the execution, delivery and filing or recording of such
releases as may be requested by the Liquidating Debtor.

               10.     Corporate Action

        On the Effective Date, the matters under the DEMG Plan involving or requiring corporate
action of DEMG, including but not limited to actions requiring a vote or other approval of
DEMG’s board of directors or shareholders, or the execution of any documentation incident to or
in furtherance of the DEMG Plan shall be deemed to have been authorized by the Confirmation
Order and to have occurred and be in effect from and after the Effective Date without any further
action by the Bankruptcy Court or the officers or directors of DEMG.

        On the Effective Date, DEMG’s charter shall be amended, if necessary, to include a
provision prohibiting the issuance of nonvoting equity securities and such other provisions as
may be required pursuant to section 1123(a)(6) of the Bankruptcy Code. The Liquidating Debtor
may prepare, execute and/or file with the Delaware Secretary of State and other state
governmental authorities having jurisdiction over the Liquidating Debtor such amendments of its
charter as may be necessary or appropriate under applicable non-bankruptcy law to fully
effectuate such amendment.

        Notwithstanding anything to the contrary in the DEMG Plan, neither the Disbursing
Agent nor the Liquidating Debtor nor their respective officers and/or directors shall be liable as a
result of any action taken in accordance with the provisions of the DEMG Plan, and after the
entry of the Final Decree, neither its officers nor its directors shall have any responsibility for the
Liquidating Debtor, including any further responsibility for the management, supervision,
administration, liquidation, winding up, or cancellation of the charter of the Liquidating Debtor.

               11.     Dissolution

        Upon the completion of the Wind Down and the entry of a Final Decree, DEMG shall be
deemed dissolved for all purposes without the necessity for any other or further actions to be
taken by or on behalf of DEMG or payments to be made in connection therewith; provided,
however, that DEMG, or an agent on behalf of DEMG, shall file with the Office of the Delaware
Secretary of State a certificate of dissolution which may be executed by an officer of DEMG, or
an agent on behalf of DEMG, without the need for approval by any board of directors,
stockholders, members, or managers as applicable. From and after the date of the entry of the
Final Decree, DEMG shall not be required to file any document, or take any other action, or
obtain any approval from any DEMG board of directors, stockholders, members, or managers to
withdraw DEMG’s business operations from any state in which DEMG previously conducted
business operations.

               12.     Withholding and Reporting Requirements

                      (a)    Withholding Rights. In connection with the DEMG Plan, any
party issuing any instrument or making any distribution described in the DEMG Plan shall
comply with all applicable withholding and reporting requirements imposed by any federal, state,
or local taxing authority, and all distributions pursuant to the DEMG Plan and all related
agreements shall be subject to any such withholding or reporting requirements. Each holder of


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an Allowed Claim or any other Person that receives a distribution pursuant to the DEMG Plan
shall have responsibility for any taxes imposed by any governmental unit, including, without
limitation, income, withholding, and other taxes, on account of such distribution. Any party
issuing any instrument or making any distribution pursuant to the DEMG Plan has the right, but
not the obligation, to not make a distribution until such holder has made arrangements
satisfactory to such issuing or disbursing party for payment of any such tax obligations.

                       (b)    Forms. Any party entitled to receive any property as a distribution
under the DEMG Plan shall, upon request, deliver to the Disbursing Agent or such other Person
designated by the Liquidating Debtor (which entity shall subsequently deliver to the Disbursing
Agent any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the
payee is a foreign Person) Form W-8, unless such Person is exempt under the Tax Code and so
notifies the Disbursing Agent. If such request is made by the Liquidating Debtor, the Disbursing
Agent, or such other Person designated by the Liquidating Debtor and the holder fails to comply
before the date that is 180 days after the request is made, the amount of such distribution shall
irrevocably revert to the Liquidating Debtor and any Claim in respect of such distribution shall
be discharged and forever barred from assertion against such Liquidating Debtor or its respective
property.

               13.    Effectuating Documents; Further Transactions

       On and after the Effective Date, the Liquidating Debtor and the officers and members of
the board of directors thereof, are authorized to and may issue, execute, deliver, file or record
such contracts, securities, instruments, releases and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement and further evidence the
terms and conditions of the DEMG Plan in the name of and on behalf of the Liquidating Debtor,
without the need for any approvals, authorization, or consents except for those expressly required
pursuant to the DEMG Plan.

               14.    Closing of the DEMG Case

      After the DEMG Estate has been fully administered, the Liquidating Debtor shall
promptly seek a Final Decree.

       F.      PROVISIONS GOVERNING DISTRIBUTIONS

               1.     Distribution Record Date

        As of the close of business on the Distribution Record Date, the transfer register for each
of the Classes of Claims or Interests as maintained by DEMG or its agents, shall be deemed
closed, and there shall be no further changes in the record holders of any of the Claims or
Interests. DEMG shall have no obligation to recognize any transfer of Claims or Interests
occurring on or after the Distribution Record Date.

               2.     Date of Distributions

        Except as otherwise provided in the DEMG Plan, the Disbursing Agent shall make the
Initial Distribution to holders of Allowed Claims no later than the Initial Distribution Date and


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thereafter, the Disbursing Agent shall from time to time determine the subsequent Distribution
Dates, which shall occur no less frequently than semi-annually. In the event that any payment
or act under the DEMG Plan is required to be made or performed on a date that is not a Business
Day, then the making of such payment or the performance of such act may be completed on or
as soon as reasonably practicable after the next succeeding Business Day, but shall be deemed
to have been completed as of the required date.

        Based upon DEMG’s estimate that its general unsecured creditors will receive
approximately 1% of their respective Allowed Claims, you should be aware that holders of any
General Unsecured Claim Allowed for less than $2,500 will likely not receive a distribution on
the Initial Distribution Date (since the DEMG Plan provides for an initial distribution of at least
$25) and holders of any General Unsecured Claims Allowed for less than $500 will likely not
receive any distribution (since the DEMG Plan provides that no distribution of less than $5 shall
be made). See Section 11 below, “Minimum Cash Distributions.”

       In the event the holders of Allowed General Unsecured Claims have not received
payment in full on account of their Claims after the resolution of all Disputed Claims, then the
Disbursing Agent shall make a final distribution of all remaining Available Cash to all holders of
Allowed General Unsecured Claims.

               3.     Cancellation of Senior Notes

        Each record holder of a Senior Note Claim shall be deemed to have surrendered the
certificates or other documentation underlying each such Claim, and all such surrendered
certificates and other documentations shall be deemed to be canceled except to the extent
otherwise provided in the DEMG Plan. Such surrendered Senior Notes shall be cancelled solely
with respect to DEMG, and such cancellation shall not alter the obligations or rights of any third
parties vis-à-vis one another with respect to such Senior Notes.

               4.     Delivery of Distributions

        Subject to Bankruptcy Rule 9010, all distributions to any holder of an Allowed Claim
shall be made by the Disbursing Agent. In the event that any distribution to any holder is
returned as undeliverable, no further distributions shall be made to such holder unless and until
the Disbursing Agent is notified in writing of such holder’s then-current address, at which time
all currently-due, missed distributions shall be made to such holder as soon as reasonably
practicable thereafter. Undeliverable distributions or unclaimed distributions shall remain in the
possession of the Liquidating Debtor until such time as a distribution becomes deliverable or
holder accepts distribution, or such distribution reverts back to the Liquidating Debtor, as
applicable, and shall not be supplemented with any interest, dividends or other accruals of any
kind. Such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of 180 days from the date of distribution. After such date, all
unclaimed property or interest in property shall revert to the Liquidating Debtor, and the claim of
any holder to such property or interest in property shall be discharged and forever barred.
Distributions to holders of General Unsecured Claims that are deemed unclaimed property
pursuant to the preceding sentence shall be redistributed to the holders of Allowed General
Unsecured Claims in accordance with Section 4.4 of the DEMG Plan.


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               5.     Manner of Payment Under Plan

      At the option of the Disbursing Agent, any Cash payment to be made hereunder may be
made by a check or wire transfer or as otherwise required or provided in applicable
agreements.

               6.     Setoffs

        The Liquidating Debtor may, but shall not be required to, set off against any Claim, any
claims of any nature whatsoever that DEMG may have against the holder of such Claim;
provided, that neither the failure to do so nor the allowance of any Claim hereunder shall
constitute a waiver or release by DEMG of any such claim DEMG may have against the holder
of such Claim.

               7.     Distributions After Effective Date

      Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

               8.     Allocation of Distributions Between Principal and Interest

        Except as otherwise provided in the DEMG Plan, to the extent that any Allowed Claim
entitled to a distribution under the DEMG Plan is comprised of indebtedness and accrued but
unpaid interest thereon, such distribution shall be allocated to the principal amount (as
determined for U.S. federal income tax purposes) of the Claim first, and then to accrued but
unpaid interest.

               9.     Maximum Distributions Allowed

       No holder of an Allowed General Unsecured Claim shall receive distributions that
aggregate more than the amount of such holder’s Allowed General Unsecured Claim.

               10.    Rounding of Payments

       Whenever payment of a fraction of a cent would otherwise be called for, the actual
payment shall reflect a rounding down of such fraction to the nearest whole cent. To the extent
Cash remains undistributed as a result of the rounding of such faction to the nearest whole cent,
such Cash shall be treated as unclaimed property under the DEMG Plan.

               11.    Minimum Cash Distributions

        The Disbursing Agent shall not be required to make any Initial Distribution or
subsequent distribution of Cash less than $25 to any holder of an Allowed General Unsecured
Claim; provided, however, that if any distribution is not made pursuant to this section, such
distribution shall be added to any subsequent distribution to be made on account of the holder’s
Allowed Claim. The Disbursing Agent shall not be required to make any final distributions of
Cash less than $5 to any holder of an Allowed Claim. If either (a) all Allowed General


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Unsecured Claims (other than those whose distributions are deemed undeliverable under the
DEMG Plan) have been paid in full or (b) the amount of any final distributions to holders of
Allowed General Unsecured Claims would be $5 or less and the aggregate amount of cash
available for distributions to holders of Allowed General Unsecured Claims is less than $5,000,
then no further distribution shall be made by the Disbursing Agent and any surplus Cash shall
be donated and distributed to an I.R.C. § 501(c)(3) tax-exempt organization selected by the
Liquidating Debtor.

       G.      PROCEDURES FOR DISPUTED CLAIMS

               1.     Allowance of Claims

       After the Effective Date, DEMG shall have and shall retain any and all rights and
defenses that DEMG had with respect to any Claim, except with respect to any Claim deemed
Allowed under the DEMG Plan. Except as expressly provided in the DEMG Plan or in any order
entered in the Chapter 11 Cases prior to the Effective Date (including, without limitation, the
Confirmation Order), no Claim shall become an Allowed Claim unless and until such Claim is
deemed Allowed under the DEMG Plan or the Bankruptcy Code or the Bankruptcy Court has
entered a Final Order, including, without limitation, the Confirmation Order, in the Chapter 11
Cases allowing such Claim.

               2.     Objections to Claims

        As of the Effective Date, objections to, and requests for estimation of, Claims against
DEMG may be interposed and prosecuted only by DEMG. Such objections and requests for
estimation shall be served and filed (a) on or before the 180th day following the later of (i) the
Effective Date and (ii) the date that a proof of Claim is filed or amended or a Claim is otherwise
asserted or amended in writing by or on behalf of a holder of such Claim, or (b) such later date as
ordered by the Bankruptcy Court upon motion filed by the Liquidating Debtor.

               3.     Estimation of Claims

        DEMG may at any time request that the Bankruptcy Court estimate any contingent,
unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless
of whether DEMG previously objected to such Claim or whether the Bankruptcy Court has
ruled on any such objection, and the Bankruptcy Court will retain jurisdiction to estimate any
Claim at any time during litigation concerning any objection to any Claim, including, without
limitation, during the pendency of any appeal relating to any such objection. In the event that
the Bankruptcy Court estimates any contingent, unliquidated or Disputed Claim, the amount so
estimated shall constitute either the Allowed amount of such Claim or a maximum limitation on
such Claim, as determined by the Bankruptcy Court. If the estimated amount constitutes a
maximum limitation on the amount of such Claim, DEMG may pursue supplementary
proceedings to object to the allowance of such Claim. All of the aforementioned objection,
estimation and resolution procedures are intended to be cumulative and not exclusive of one
another. Claims may be estimated and subsequently compromised, settled, withdrawn, or
resolved by any mechanism approved by the Bankruptcy Court.




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               4.     No Distributions Pending Allowance

        If an objection to a Claim is filed as set forth in Section 7.2 of the DEMG Plan, no
payment or distribution provided under the DEMG Plan shall be made on account of such Claim
unless and until such Disputed Claim becomes an Allowed Claim.

               5.     Distributions After Allowance

        To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
(if any) shall be made to the holder of such Allowed Claim in accordance with the provisions of
the DEMG Plan. On the next Distribution Date after the date that any Disputed Claim becomes
an Allowed Claim (whether by Final Order of the Bankruptcy Court or otherwise), the
Disbursing Agent shall provide to the holder of such Claim the distribution (if any) to which
such holder is entitled under the DEMG Plan as of the Effective Date, without any interest to be
paid on account of such Claim unless required under applicable bankruptcy law.

               6.     Resolution of Claims

        On and after the Effective Date, the Liquidating Debtor shall have the authority to
compromise, settle, otherwise resolve or withdraw any objections to Claims, and to compromise,
settle or otherwise resolve any Disputed Claims without approval of the Bankruptcy Court.

               7.     Disallowed Claims

       All claims held by Persons or Entities against whom or which DEMG has commenced a
proceeding asserting a Cause of Action under sections 542, 543, 544, 545, 547, 548, 549 and/or
550 of the Bankruptcy Code shall be deemed “disallowed” claims pursuant to section 502(d) of
the Bankruptcy Code and holders of such claims shall not be entitled to vote to accept or reject
the DEMG Plan. Claims that are deemed disallowed pursuant to this section shall continue to be
disallowed for all purposes until the avoidance action against such party has been settled or
resolved by Final Order and any sums due to DEMG from such party have been paid.

       H.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES

               1.     General Treatment

        All executory contracts and unexpired leases to which DEMG is a party are rejected as of
the Effective Date, except for any executory contract or unexpired lease that is an insurance
policy subject to Section 8.3 of the DEMG Plan.

               2.     Rejection Claims

        Unless a contract or lease is (a) specifically assumed or rejected by order of the
Bankruptcy Court, (b) otherwise expressly assumed pursuant to the terms of the DEMG Plan, or
(c) the subject of a separate assumption or rejection motion filed by DEMG, the Confirmation
Order shall constitute the Bankruptcy Court’s approval of the rejection of all the leases and
contracts, in accordance with Section 8.1 of the DEMG Plan, effective as of the Effective Date.
In the event that the rejection of an executory contract or unexpired lease by DEMG pursuant to


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the DEMG Plan results in damages to the other party or parties to such contract or lease, a Claim
for such damages, if not heretofore evidenced by a timely filed Proof of Claim, shall be forever
barred and shall not be enforceable against DEMG, or its respective properties or interests in
property as agents, successors or assigns, unless a Proof of Claim is filed with the Bankruptcy
Court and served upon counsel for the Liquidating Debtor no later than thirty (30) days after the
later of (1) the Confirmation Date or (2) the effective date of rejection of such executory contract
or unexpired lease. Any such Claims, to the extent Allowed, shall be classified as Class 3
General Unsecured Claims.

               3.      Insurance Policies

       All insurance policies pursuant to which DEMG has any rights or obligations in effect as
of the date of the Confirmation Order shall continue to be enforced and treated as being
unaffected by the bankruptcy filing.

               4.      Reservation of Rights

       Nothing contained in the DEMG Plan will constitute an admission by DEMG that any
such contract or lease is or is not in fact an Executory Contract or Unexpired Lease or that
DEMG has any liability thereunder.

       Nothing in the DEMG Plan will waive, excuse, limit, diminish, or otherwise alter any of
the defenses, Claims, Causes of Action, or other rights of DEMG under any executory or non
executory contract or any unexpired or expired lease.

        Nothing in the DEMG Plan will increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities DEMG under any executory or non executory contract
or any unexpired or expired lease.

        If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, DEMG shall have thirty (30) days following
entry of a Final Order resolving such dispute to alter its treatment of such contract or lease.

       I.      CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

               1.      Conditions Precedent to Confirmation

       The occurrence of Confirmation is subject to the following conditions precedent:

                       (a)    the entry of the Disclosure Statement Order;

                       (b)    the entry of the Confirmation Order; and

                       (c)    the execution of the Disbursing Agent Agreement by the parties
                              thereto.




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               2.     Conditions Precedent to the Effective Date

       The occurrence of the Effective Date of the DEMG Plan is subject to the following
conditions precedent:

                      (a)    the Confirmation Date shall have occurred and the Confirmation
                             Order shall have become a Final Order; and

                      (b)    the Reorganization      Plan    shall   have   been    substantially
                             consummated.

               3.     Waiver of Conditions Precedent

       Each of the conditions precedent in Sections 9.1 and 9.2 of the DEMG Plan may be
waived in writing by DEMG together with Bankruptcy Court approval.

               4.     Effect of Failure of Conditions to Effective Date

        If the Confirmation Order is vacated, (i) no distributions under the DEMG Plan shall be
made, (ii) DEMG and all holders of Claims and Interests shall be restored to the status quo ante
as of the day immediately preceding the Confirmation Date as though the Confirmation Date
never occurred, and (iii) all of DEMG’s obligations with respect to the Claims and the Interests
shall remain unchanged and nothing contained in the DEMG Plan shall be deemed to constitute a
waiver or release of any claims by or against DEMG or any other entity or to prejudice in any
manner the rights of DEMG or any other entity in any further proceedings involving the DEMG
Plan, DEMG or otherwise.

       J.      EFFECT OF CONFIRMATION

               1.     Subordinated Claims

        The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the DEMG Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Pursuant to section 510 of the Bankruptcy Code, DEMG reserves the right to
reclassify any Allowed Claim or Interest in accordance with any contractual, legal or equitable
subordination relating thereto.

               2.     Vesting of Assets

       On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, all
property of the DEMG Estate, shall remain vested in DEMG free and clear of all Claims, Liens,
encumbrances, charges and other interests, except as provided pursuant to the DEMG Plan and
the Confirmation Order.




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               3.     No Discharge of Claims

       Except as otherwise provided in the DEMG Plan, with respect to unclaimed distributions
and late filed Claims, DEMG shall not be discharged, pursuant to section 1141(d)(3)(A) of the
Bankruptcy Code, from any Claim. The Plan shall bind all holders of Claims and Interests,
notwithstanding whether any such holders failed to vote to accept or reject the DEMG Plan or
voted to reject the DEMG Plan. All Entities shall be precluded from asserting against the
Liquidating Debtor and the DEMG Estate, their successors and assigns and their assets and
properties any other Claims or Interests based upon any documents, instruments or any act or
omission, transaction or other activity of any kind or nature that occurred before the Effective
Date.

               4.     Term of Injunctions or Stays

        Unless otherwise provided, all injunctions or stays arising under or entered during the
Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or otherwise, and in
existence on the Confirmation Date, shall remain in full force and effect until the later of the
Effective Date and the date indicated in the order providing for such injunction or stay.

               5.     Injunction Against Interference with Plan

      From and after the Effective Date, all entities are permanently enjoined from
commencing or continuing in any manner, any suit, action or other proceeding, in the
Bankruptcy Court or otherwise, on account of or respecting any Claim against, or Interest in,
DEMG, except with respect to the allowance of such Claim or Interest in accordance with the
DEMG Plan.

               6.     Exculpation

        No Exculpated Party shall have or incur, and each Exculpated Party is hereby released
and exculpated from any claim, obligation, cause of action or liability for any claim in
connection with or arising out of, the administration of the DEMG Case, the negotiation and
pursuit of the DEMG Plan, or the solicitation of votes for, or confirmation of, the DEMG Plan,
the consummation of the DEMG Plan, or the administration of the DEMG Plan or the property to
be distributed under the DEMG Plan, or any other transaction contemplated by the foregoing,
except for willful misconduct or gross negligence, but in all respects such entities shall be
entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the DEMG Plan; provided, however, that nothing in the DEMG Plan
shall limit the liability of DEMG’s professionals to its client pursuant to N.Y. Comp. Codes R. &
Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009), and any other statutes, rules or regulation dealing
with professional conduct to which such professionals are subject.

       Additionally, under the terms of the Reorganization Plan the Exculpated Parties have
been released from certain claims, obligations, causes of action and liabilities. Additional
information concerning the releases under the Reorganization Plan can be found in Section 10 of
the Reorganization Plan.




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        Furthermore, pursuant to the Disbursing Agent Agreement, upon the Effective Date, the
Disbursing Agent is hereby released and exculpated from any claim, obligation, cause of action
or liability for any claim arising in connection with its duties under the Disbursing Agent
Agreement.

               7.      Releases

                         (a)    Releases by DEMG. Subject to Section 10.7(c) of the DEMG
Plan, as of the Effective Date and to the fullest extent permitted by applicable law, for good and
valuable consideration, including the services to facilitate the DEMG Plan, the Released Parties
will be deemed released and discharged by DEMG, the Liquidating Debtor and the DEMG
Estate from any and all Claims, obligations, rights suits, damages, Causes of Action, remedies
and liabilities whatsoever, whether known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, or otherwise, that DEMG, the Liquidating Debtor or the
DEMG Estate would have been legally entitled to assert, other than any act or omission that is a
criminal act or constitutes intentional fraud; provided, however, that nothing in the DEMG Plan
shall limit the liability of DEMG’s professionals to its client pursuant to N.Y. Comp. Codes R. &
Regs. tit. 22 § 1200.8 Rule 1.8(h)(1) (2009), and any other statutes, rules or regulation dealing
with professional conduct to which such professionals are subject.

                       (b)      Releases by Holders of Claims. Subject to Section 10.7(c) of the
DEMG Plan, as of the Effective Date and to the fullest extent permitted by applicable law, for
good and valuable consideration, including the waiver by the Consenting Senior Noteholders of
their right to receive distributions on account of their Claims, the release an discharge by the
Consenting Lender, the Issuing Lender and the Roll-Up Lender of the liens and security interests
granted by DEMG in connection with the 2012 Credit Agreement and the DIP Loan Agreement,
and the Reorganization Plan Debtors’ release of certain claims against DEMG, the Releasing
Parties will be deemed to have conclusively, absolutely, unconditionally, irrevocably and
forever, released the Released Parties from any and all Claims, obligations, rights, suits,
damages, Causes of Action, remedies and liabilities whatsoever, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such
entity would have been legally entitled to assert arising from, in whole or in part, any transaction
with DEMG, the Liquidating Debtor or the DEMG Estate, other than any act or omission that is
a criminal act or constitutes intentional fraud.

                      (c)    Obligations Under Plan Not Released. Notwithstanding anything
in the DEMG Plan to the contrary, the Release provisions set forth above do not release any post-
Effective Date obligations of any party under the DEMG Plan or any document, instrument or
agreement executed to implement the DEMG Plan

               8.      Retention of Causes of Action/Reservation of Rights

       Although DEMG believes that, as a result of the DEMG Claim Stipulation, there are no
Causes of Action of value left to pursue, out of an abundance of caution, the DEMG Plan
provides as follows:




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                       (a)    Except as otherwise provided the DEMG Plan, including Section
10.8, pursuant to section 1123(b) of the Bankruptcy Code, DEMG shall retain and may enforce,
sue on, settle or compromise (or decline to do any of the foregoing) all claims, rights, causes of
action, suits and proceedings, whether in law or in equity, whether known or unknown, that
DEMG or the DEMG Estate may hold against any Person or Entity without the approval of the
Bankruptcy Court, including, without limitation, (i) any and all Claims against any Person or
Entity, to the extent such Person or Entity asserts a cross-claim, counterclaim and/or Claim for
setoff which seeks affirmative relief against DEMG, its officers, directors or representatives; and
(ii) the turnover of any property of the DEMG Estate; provided, however that DEMG shall not
retain any Claims or Causes of Action arising under chapter 5 of the Bankruptcy Code against
holders of Allowed General Unsecured Claims (except that such Claims or Causes of Action
may be asserted as a defense to a Claim in connection with the claims reconciliation and
objection procedures). DEMG or its successor(s) may pursue such retained claims, rights, or
causes of action, suits or proceedings, as appropriate, in accordance with the best interests of
DEMG or its successor(s) who hold such rights.

                       (b)    Except as otherwise provided the DEMG Plan, including Section
10.8, nothing contained the DEMG Plan or in the Confirmation Order shall be deemed to be a
waiver or relinquishment of any Claim, Cause of Action, right of setoff or other legal or
equitable defense which DEMG had immediately before the Commencement Date, against or
with respect to any Claim left Unimpaired by the DEMG Plan; provided, however, that DEMG
shall not retain any Claims or Causes of Action arising under chapter 5 of the Bankruptcy Code
against holders of Allowed General Unsecured Claims (except that such Claims or Causes of
Action may be asserted as a defense to a Claim in connection with the claims reconciliation and
objection procedures). DEMG shall have, retain, reserve and be entitled to assert all such claims,
Causes of Action, rights of setoff and other legal or equitable defenses which they had
immediately before the Commencement Date with respect to any Claim left Unimpaired by the
DEMG Plan as if the DEMG Case had not been commenced, and all of DEMG’s legal and
equitable rights respecting any Claim left Unimpaired by the DEMG Plan may be asserted after
the Confirmation Date to the same extent as if the DEMG Case had not been commenced.

               9.     Solicitation of the DEMG Plan

         As of and subject to the occurrence of the Confirmation Date, DEMG shall be deemed to
have solicited acceptances of the DEMG Plan in good faith and in compliance with the
applicable provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and
(e) of the Bankruptcy Code, and any applicable non-bankruptcy law, rule or regulation governing
the adequacy of disclosure in connection with such solicitation.

       K.      RETENTION OF JURISDICTION

       On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under, and related to the DEMG Case for, among other things, the
following purposes:

                      (a)     to hear and determine motions and/or applications for the
                              assumption or rejection of executory contracts or unexpired leases


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                          and the allowance, classification, priority, compromise, estimation
                          or payment of Claims resulting therefrom;

                   (b)    to determine any motion, adversary proceeding, application,
                          contested matter and other litigated matter pending on or
                          commenced after the Confirmation Date;

                   (c)    to ensure that distributions to holders of Allowed Claims are
                          accomplished as provided in the DEMG Plan;

                   (d)    to consider Claims or the allowance, classification, priority,
                          compromise, estimation or payment of any Claim;

                   (e)    to enter, implement or enforce such orders as may be appropriate
                          in the event the Confirmation Order is for any reason stayed,
                          reversed, revoked, modified or vacated;

                   (f)    to issue injunctions, enter and implement other orders, and take
                          such other actions as may be necessary or appropriate to restrain
                          interference by any person with the consummation,
                          implementation or enforcement of the DEMG Plan, the
                          Confirmation Order, or any other order of the Bankruptcy Court;

                   (g)    to hear and determine any application to modify the DEMG Plan in
                          accordance with section 1127 of the Bankruptcy Code, to remedy
                          any defect or omission or reconcile any inconsistency in the
                          DEMG Plan, or any order of the Bankruptcy Court, including the
                          Confirmation Order, in such a manner as may be necessary to carry
                          out the purposes and effects the DEMG Plan;

                   (h)    to hear and determine all applications under sections 330, 331 and
                          503(b) of the Bankruptcy Code for awards of compensation for
                          services rendered and reimbursement of expenses incurred before
                          the Confirmation Date;

                   (i)    to hear and determine disputes arising in connection with the
                          interpretation, implementation or enforcement of the DEMG Plan
                          or the Confirmation Order or any agreement, instrument or other
                          document governing or relating to any of the foregoing;

                   (j)    to take any action and issue such orders as may be necessary to
                          construe, interpret, enforce, implement, execute and consummate
                          the DEMG Plan or to maintain the integrity of the DEMG Plan
                          following consummation;

                   (k)    to hear any disputes arising out of, and to enforce, the order
                          approving alternative dispute resolution procedures to resolve



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                              personal injury, employment litigation and similar claims pursuant
                              to section 105(a) of the Bankruptcy Code;

                      (l)     to determine such other matters and for such other purposes as may
                              be provided in the Confirmation Order;

                      (m)     to hear and determine matters concerning state, local and federal
                              taxes in accordance with sections 346, 505 and 1146 of the
                              Bankruptcy Code (including any requests for expedited
                              determinations under section 505(b) of the Bankruptcy Code for
                              periods through the dissolution of DEMG);

                      (n)     to adjudicate, decide, or resolve any Causes of Actions;

                      (o)     to adjudicate, decide or resolve any and all matters related to
                              section 1141 of the Bankruptcy Code;

                      (p)     to resolve any cases, controversies, suits, disputes or Causes of
                              Action with respect to the repayment or return of distributions and
                              the recovery of additional amounts owed by the holder of a Claim
                              for amounts not timely repaid;

                      (q)     to adjudicate any and all disputes arising from or relating to
                              distributions under the DEMG Plan;

                      (r)     to hear and determine any other matters related hereto and not
                              inconsistent with the Bankruptcy Code and title 28 of the United
                              States Code;

                      (s)     to enter a Final Decree closing the DEMG Case;

                      (t)     to recover all assets of the Liquidating Debtor and property of the
                              DEMG Estates, wherever located; and

                      (u)     to hear and determine any rights, Claims or causes of action held
                              by or accruing to DEMG pursuant to the Bankruptcy Code or
                              pursuant to any federal statute or legal theory.

       L.      MISCELLANEOUS PROVISIONS

               1.     Payment of Statutory Fees

        On the Effective Date and thereafter as may be required, DEMG shall pay all fees
incurred pursuant to § 1930 of title 28 of the United States Code, together with interest, if any,
pursuant to § 3717 of title 31 of the United States Code for the DEMG Case or until such time as
a Final Decree is entered closing the DEMG Case, a Final Order converting the DEMG Case to a
case under chapter 7 of the Bankruptcy Code is entered or a Final Order dismissing such the
DEMG Case is entered.


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               2.     Substantial Consummation

       On the Effective Date, the DEMG Plan shall be deemed to be substantially consummated
under sections 1101 and 1127(b) of the Bankruptcy Code.

               3.     Dissolution of Creditors Committee

     Unless dissolved earlier pursuant to the terms of the Reorganization Plan, the Creditors
Committee shall be dissolved as of the Effective Date.

               4.     Request for Expedited Determination of Taxes

       DEMG shall have the right to request an expedited determination under section 505(b) of
the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable
periods ending after the Commencement Date through the Effective Date.

               5.     Amendments

                       (a)    Plan Modifications. The Plan may be amended, modified or
supplemented by DEMG in the manner provided for by section 1127 of the Bankruptcy Code or
as otherwise permitted by law without additional disclosure pursuant to section 1125 of the
Bankruptcy Code. In addition, after the Confirmation Date, DEMG may institute proceedings in
the Bankruptcy Court to remedy any defect or omission or reconcile any inconsistencies in the
DEMG Plan or the Confirmation Order, with respect to such matters as may be necessary to
carry out the purposes and effects of the DEMG Plan.

                       (b)    Other Amendments. Before the Effective Date, DEMG may make
appropriate technical adjustments and modifications to the DEMG Plan without further order or
approval of the Bankruptcy Court; provided, however, that any such adjustments or
modifications shall not materially and adversely affect the economic interests of any holder of a
Claim or Interest. In accordance with the Disbursing Agent Agreement, the Disbursing Agent
Agreement may not be amended, modified or supplemented by Reader’s Digest and DEMG
without the consent of the Consenting Senior Noteholders.

               6.     Effectuating Documents and Further Transactions

        Each of the officers of DEMG is authorized, in accordance with his or her authority under
the resolutions of DEMG’s board of directors, to execute, deliver, file or record such contracts,
instruments, releases, indentures and other agreements or documents and take such actions as
may be necessary or appropriate to effectuate and further evidence the terms and conditions of
the DEMG Plan.

               7.     Revocation or Withdrawal of the DEMG Plan

        DEMG may revoke or withdraw the DEMG Plan only if it is in the exercise DEMG’s
fiduciary duty. If DEMG takes such action, the DEMG Plan shall be deemed null and void. In
such event, nothing contained in the DEMG Plan shall constitute or be deemed to be a waiver or



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release of any Claims by or against DEMG or any other person or to prejudice in any manner the
rights of DEMG or any person in further proceedings involving DEMG.

               8.     Severability of Plan Provisions upon Confirmation

         If, before the entry of the Confirmation Order, any term or provision of the DEMG Plan
is held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court, at
the request of DEMG, shall have the power to alter and interpret such term or provision to make
it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the DEMG Plan will remain in full
force and effect and will in no way be affected, impaired or invalidated by such holding,
alteration or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of the DEMG Plan, as it may have been altered or
interpreted in accordance with the foregoing, is (1) valid and enforceable pursuant to its terms;
(2) integral to the DEMG Plan and may not be deleted or modified without the consent of
DEMG; and (3) nonseverable and mutually dependent.

               9.     Governing Law

        Except to the extent that the Bankruptcy Code or other federal law is applicable, the
rights, duties and obligations arising under the DEMG Plan shall be governed by, and construed
and enforced in accordance with, the laws of the State of New York, without giving effect to the
principles of conflict of laws thereof.

               10.    Time

       In computing any period of time prescribed or allowed by the DEMG Plan, unless
otherwise set forth in the DEMG Plan or determined by the Bankruptcy Court, the provisions of
Bankruptcy Rule 9006 shall apply.

               11.    Immediate Binding Effect

       Notwithstanding Bankruptcy Rules 3020(e), 6004(h) or 7062 or otherwise, upon the
occurrence of the Effective Date, the terms of the DEMG Plan shall be immediately effective and
enforceable and deemed binding upon and inure to the benefit of DEMG, the holders of Claims
and Interests, the Released Parties, the Exculpated Parties and each of their respective successors
and assigns.

               12.    Successors and Assigns

        The rights, benefits and obligations of any Entity named or referred to in the DEMG Plan
shall be binding on, and shall inure to the benefit of any heir, executor, administrator, successor
or permitted assign, if any, of each Entity.




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               13.    Entire Agreement

       On the Effective Date, the DEMG Plan and the Confirmation Order shall supersede all
previous and contemporaneous negotiations, promises, covenants, agreements, understandings
and representations on such subjects, all of which have become merged and integrated into the
DEMG Plan.

               14.    Notices

        All notices, requests and demands to or upon DEMG to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided in the DEMG
Plan, shall be deemed to have been duly given or made when actually delivered or, in the case of
notice by facsimile transmission, when received and telephonically confirmed, addressed as
follows:

           (i) if to DEMG:

               DIRECT ENTERTAINMENT MEDIA GROUP, INC.
               c/o RDA Holding Co.
               44 South Broadway
               White Plains, New York 10601
               Facsimile:     (914) 244-7810
               Attn: Andrea Newborn, Esq.

                      – and –

               DICKSTEIN SHAPIRO LLP
               1633 Broadway
               New York, NY 10019
               Attn: Barry N. Seidel, Esq.
                     Katie L. Weinstein, Esq.
                     Evan J. Zucker, Esq.
               Telephone:   (212) 277-6500
               Facsimile:   (212) 277-6501

                      – and –

               WEIL, GOTSHAL & MANGES LLP
               767 Fifth Avenue
               New York, NY 10153
               Attn: Joseph H. Smolinsky, Esq.
                      Marcia L. Goldstein, Esq.
                      Matthew P. Goren, Esq.
               Telephone:    (212) 310-8000
               Facsimile:    (212) 310-8007

           (ii) if to the Disbursing Agent:



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               THE READER’S DIGEST ASSOCIATION, INC.
               44 South Broadway
               White Plains, New York 10601
               Attn: William Magill, Esq.

       After the Effective Date, DEMG has the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed
request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date,
DEMG is authorized to limit the list of Entities receiving documents pursuant to Bankruptcy
Rule 2002 to those Entities who have filed such renewed requests.

VII.   CERTAIN FACTORS TO BE CONSIDERED

       A.      CERTAIN BANKRUPTCY LAW CONSIDERATIONS

               1.     Risk of Non-Confirmation of the DEMG Plan

       Although DEMG believes that the DEMG Plan will satisfy all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
reach the same conclusion or that modifications of the DEMG Plan will not be required for
confirmation or that such modifications would not necessitate resolicitation of votes.

               2.     Non-Consensual Confirmation

        In the event any impaired class of claims or interests entitled to vote on a plan does not
accept the plan, a bankruptcy court may nevertheless confirm such plan at the proponent’s
request if at least one impaired class has accepted the plan (with such acceptance being
determined without including the vote of any “insider” in such class), and as to each impaired
class that has not accepted the plan, the bankruptcy court determines that the plan “does not
discriminate unfairly” and is “fair and equitable” with respect to the dissenting impaired classes.
See Section X.C.2 (“Requirements of Section 1129(b) of the Bankruptcy Code”). DEMG
believes that the DEMG Plan satisfies these requirements.

               3.     Risk of Delay in Confirmation of the DEMG Plan

        Although DEMG believes that the Effective Date will occur soon after the Confirmation
Date, there can be no assurance as to such timing.

       B.      ADDITIONAL FACTORS TO BE CONSIDERED

               1.     DEMG Has No Duty to Update

        The statements contained in this Disclosure Statement are made by DEMG as of the
date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement
after that date does not imply that there has been no change in the information set forth herein
since that date. DEMG has no duty to update this Disclosure Statement unless otherwise
ordered to do so by the Bankruptcy Court.



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               2.     No Representations Outside This Disclosure Statement Are
                      Authorized

        No representations concerning or related to DEMG, its Chapter 11 Case, or the DEMG
Plan are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in
this Disclosure Statement. Any representations or inducements made to secure your acceptance
or rejection of the DEMG Plan that are other than as contained in, or included with, this
Disclosure Statement should not be relied upon by you in arriving at your decision.

               3.     No Legal or Tax Advice is Provided to You By This Disclosure
                      Statement

       The contents of this Disclosure Statement should not be construed as legal, business or
tax advice. Each holder of a Claim or Interest should consult his, her, or its own legal counsel
and accountant as to legal, tax and other matters concerning his, her, or its Claim or Interest.

        This Disclosure Statement is not legal advice to you. This Disclosure Statement may not
be relied upon for any purpose other than to determine how to vote on the DEMG Plan or object
to confirmation of the DEMG Plan.

               4.     No Admission Made

       Nothing contained herein or in the DEMG Plan will constitute an admission of, or be
deemed evidence of, the tax or other legal effects of the DEMG Plan on DEMG or on holders of
Claims or Interests.

VIII. TAX CONSEQUENCES OF THE PLAN

     DEMG HAS NOT REQUESTED A RULING FROM THE INTERNAL REVENUE
SERVICE, OR AN OPINION OF COUNSEL, WITH RESPECT TO ANY FEDERAL
INCOME TAX CONSEQUENCES OF THE PLAN. THUS, NO ASSURANCE CAN BE
GIVEN AS TO ANY INCOME TAX CONSEQUENCES OF THE PLAN. EACH KNOWN
HOLDER OF A CLAIM (OTHER THAN AN ADMINISTRATIVE OR PRIORITY CLAIM)
OR EQUITY INTEREST IS A PARTY TO A SETTLEMENT AGREEMENT
IMPLEMENTED BY THE PLAN AND IS REPRESENTED BY COUNSEL.
ACCORDINGLY, THE TAX CONSEQUENCES OF THE PLAN TO SUCH HOLDERS OF
CLAIMS AND EQUITY INTERESTS ARE NOT DISCUSSED HEREIN. ALL HOLDERS OF
CLAIMS AND EQUITY INTERESTS ARE URGED TO CONSULT THEIR OWN TAX
ADVISOR FOR THE FEDERAL, STATE, LOCAL, AND OTHER TAX CONSEQUENCES
APPLICABLE UNDER THE PLAN TAKING INTO ACCOUNT THEIR PARTICULAR
CIRCUMSTANCES.

IX.    CONFIRMATION OF THE PLAN

       A.      CONFIRMATION HEARING

        Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after appropriate
notice, to hold a hearing on confirmation of a chapter 11 plan. The Bankruptcy Court has


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scheduled the Confirmation Hearing to commence on October [___], 2013 at 10:00 a.m.
(Eastern Time). The Confirmation Hearing may be adjourned from time-to-time by DEMG or
the Bankruptcy Court without further notice except for an announcement of the adjourned date
made at the Confirmation Hearing or any subsequent adjourned Confirmation Hearing.

       B.      OBJECTIONS

       Section 1128 of the Bankruptcy Code provides that any party in interest may object to the
confirmation of a plan. Objections to confirmation of the DEMG Plan are governed by
Bankruptcy Rule 9014.

        Any objection to confirmation of the DEMG Plan must be in writing, must conform to
the Bankruptcy Rules and the Local Bankruptcy Rules, must set forth the name of the objector,
the nature and amount of Claims or Interests held or asserted by the objector against DEMG’s
Estate or property, the basis for the objection and the specific grounds therefor, and must be filed
with the Bankruptcy Court, with a copy to the chambers of The Honorable Robert D. Drain,
United States Bankruptcy Court for the Southern District of New York, 300 Quarropas Street,
Room 118, White Plains, New York 10601, together with proof of service thereof, and served
upon the parties listed below so as to be received no later than the Objection Deadline of
October [___], 2013 at 4:00 p.m. (Eastern Time):

       Counsel to DEMG                               Counsel to DEMG

       Dickstein Shapiro LLP                         Weil, Gotshal & Manges
       1633 Broadway                                 LLP 767 Fifth Avenue
       New York, New York 10019                      New York, New York 10153
       Attn: Barry N. Seidel, Esq.                   Attn: Marcia L. Goldstein, Esq.
                                                           Joseph H. Smolinsky, Esq.
       Office of the U.S. Trustee                    DEMG

       33 Whitehall Street, 21st Floor               c/o RDA Holding Co.
       New York, New York 10004                      44 South Broadway
       Attn: Susan Golden, Esq.                      White Plains, New York 10601
                                                     Attn: Andrea Newborn, Esq.
       and

       271 Cadman Plaza East
       Suite 4529
       Brooklyn, New York 11201
       Attn: Marylou Martin, Esq.



UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT
        MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.




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       C.      REQUIREMENTS FOR CONFIRMATION OF THE
               PLAN UNDER SECTION 1129(a) OF THE BANKRUPTCY CODE

               1.    General Requirements

       At the confirmation hearing, the Bankruptcy Court will determine whether the following
confirmation requirements specified in section 1129 of the Bankruptcy Code have been satisfied:

                     i.      The Plan complies with the applicable provisions of the
                             Bankruptcy Code.

                     ii.     DEMG has complied with the applicable provisions of the
                             Bankruptcy Code.

                     iii.    The Plan has been proposed in good faith and not by any means
                             proscribed by law.

                     iv.     Any payment made or promised by DEMG or by a Person issuing
                             securities or acquiring property under the DEMG Plan for services
                             or for costs and expenses in, or in connection with, the Chapter 11
                             Case, or in connection with the DEMG Plan and incident to the
                             Chapter 11 Case, has been disclosed to the Bankruptcy Court, and
                             any such payment made before confirmation of the DEMG Plan is
                             reasonable, or if such payment is to be fixed after confirmation of
                             the DEMG Plan, such payment is subject to the approval of the
                             Bankruptcy Court as reasonable.

                     v.      DEMG has disclosed the identity and affiliations of any individual
                             proposed to serve, after confirmation of the DEMG Plan, as a
                             director, officer or voting trustee of DEMG, and the appointment
                             to, or continuance in, such office of such individual is consistent
                             with the interests of creditors and equity holders and with public
                             policy.

                     vi.     With respect to each Class of Claims or Interests, each holder of an
                             Impaired Claim or Impaired Interest either has accepted the
                             DEMG Plan or will receive or retain under the DEMG Plan on
                             account of such holder’s Claim or Interest, property of a value, as
                             of the Effective Date, that is not less than the amount such holder
                             would receive or retain if DEMG was liquidated on the Effective
                             Date under chapter 7 of the Bankruptcy Code. See discussion of
                             “Best Interests Test” below.

                     vii.    Except to the extent the DEMG Plan meets the requirements of
                             section 1129(b) of the Bankruptcy Code (discussed below), each
                             class of Claims or Interests has either accepted the DEMG Plan or
                             is not impaired under the DEMG Plan.



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                      viii.    Except to the extent that the holder of a particular claim has agreed
                               to a different treatment of such claim, the DEMG Plan provides
                               that administrative expenses and priority claims will be paid in full
                               on the Effective Date.

                      ix.      At least one class of impaired claims has accepted the DEMG Plan,
                               determined without including any acceptance of the DEMG Plan
                               by any insider holding a claim in such class.

                      x.       Confirmation of the DEMG Plan is not likely to be followed by the
                               need for further financial reorganization of DEMG or any
                               successor to DEMG under the DEMG Plan, unless such liquidation
                               or reorganization is proposed in the DEMG Plan. See discussion
                               of “Feasibility” below.

                      xi.      All fees payable under section 1930 of title 28, as determined by
                               the Bankruptcy Court at the hearing on confirmation of the
                               applicable Plan, have been paid or the applicable Plan provides for
                               the payment of all such fees on the Effective Date of the applicable
                               Plan.

                      xii.     DEMG has not obligated themselves to provide such benefits, if
                               any, for the continuation, after the Effective Date, of payment of
                               all “retiree benefits” as defined in Section 1114 of the Bankruptcy
                               Code.

               2.     Best Interests Test

        Notwithstanding acceptance of the DEMG Plan by a voting Impaired Class, in order to
confirm the DEMG Plan, the Bankruptcy Court must still independently determine that the
DEMG Plan is in the best interests of each Holder of a Claim or Equity Interest in any such
Impaired Class which has not voted to accept the DEMG Plan, meaning that the DEMG Plan
provides each such Holder with a recovery that has a value at least equal to the value of the
recovery that each such Holder would receive if the debtor was liquidated under chapter 7 of the
Bankruptcy Code on the Effective Date. Accordingly, if an Impaired Class does not vote
unanimously to accept the DEMG Plan, the best interests test requires the Bankruptcy Court to
find that the DEMG Plan provides to each member of such Impaired Class a recovery on account
of the Class member's Claim or Equity Interest that has a value, as of the Effective Date, at least
equal to the value of the recovery that each such Class member would receive if the Debtor was
liquidated under chapter 7.

        DEMG believes that the DEMG Plan satisfies the best interests test primarily because (i)
the recoveries expected to be available to Holders of Allowed Claims under the DEMG Plan will
be greater than the recoveries expected to be available in a chapter 7 liquidation, and (ii) in a
liquidation no distribution would be made to holders of general unsecured creditors as all of
DEMG’s assets are encumbered by the liens of the Senior Noteholders and, even in the absence




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of such liens, their claims (aggregating more than $400 million) would significantly dilute the
recoveries of DEMG’s other general unsecured creditors.

        In a typical chapter 7 case, a trustee is elected or appointed to liquidate a debtor's assets
and to make distributions to creditors in accordance with the priorities established in the
Bankruptcy Code. Generally, secured creditors are paid first from the proceeds of sales of their
collateral. If any assets remain in the bankruptcy estate after satisfaction of secured creditors'
claims from their collateral, administrative expenses are next to be paid. Unsecured creditors are
paid from any remaining sale proceeds, according to their respective priorities. Unsecured
creditors with the same priority share in proportion to the amount of their allowed claims in
relationship to the total amount of allowed claims held by all unsecured creditors with the same
priority. Finally, equity interest holders receive the balance that remains, if any, after all
creditors are paid. As stated above, in a DEMG chapter 7 case, there would be no unencumbered
assets for distribution to general unsecured creditors.

        Although the DEMG Plan effects a liquidation of DEMG’s assets and a chapter 7
liquidation would achieve the same goal, DEMG believes that the DEMG Plan provides a greater
recovery to holders of allowed unsecured claims than would a chapter 7 liquidation because the
DEMG Plan includes the support of Reader’s Digest (which would be withdrawn in a chapter 7
case). Thus, liquidating the assets of the DEMG Estate under the DEMG Plan will likely provide
holders of allowed unsecured claims with a more timely, larger recovery because of the fees and
expenses which would be incurred in a chapter 7 liquidation, including the potential added time
and expense incurred by the trustee and any retained professionals in familiarizing themselves
with DEMG’s chapter 11 case and DEMG’s assets and liabilities.

       Accordingly, DEMG believes that the DEMG Plan is in the best interests of creditors.

               3.      Feasibility

        Section 1129(a)(11) of the Bankruptcy Code provides that a chapter 11 plan may be
confirmed only if the Bankruptcy Court finds that the DEMG Plan is feasible. A feasible plan is
one which will not lead to a need for further reorganization or liquidation of the debtor. Since
the DEMG Plan provides for the liquidation of DEMG and the wind down of its affairs, the
Bankruptcy Court will find that the DEMG Plan is feasible if it determines that DEMG will be
able to satisfy the conditions precedent to the Effective Date and otherwise have sufficient funds
to meet its post-Effective Date obligations to pay for the costs of administering and fully
consummating the DEMG Plan and closing its Chapter 11 Case.

        DEMG believes that the DEMG Plan satisfies the financial feasibility requirement
imposed by the Bankruptcy Code because the transactions contemplated in the DEMG Plan have
maximized the value of DEMG’s estate, increased the liquid assets available for the satisfaction
of Claims, and will enable the distributions contemplated in the DEMG Plan. Additionally, it is
anticipated that based upon the Parent Advance, the retainers held by DEMG’s professionals,
and the likelihood that Reader’s Digest will agree to fund certain additional costs, that DEMG
will not need to reserve any of the Available Cash for the administrative costs of the Wind Down
in excess of the $25,000 Wind Down Reserve.




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                                   EXHIBIT A
                       PLAN OF LIQUIDATION OF
               DIRECT ENTERTAINMENT MEDIA GROUP, INC.
           PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:

DIRECT ENTERTAINMENT MEDIA                                          Chapter 11
GROUP, INC.                                                         Case No. 13-22236 (RDD)

                       Debtor.
----------------------------------------------------------------x



                            PLAN OF LIQUIDATION OF
                    DIRECT ENTERTAINMENT MEDIA GROUP, INC.
                PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


DICKSTEIN SHAPIRO LLP
1633 Broadway
New York, New York 10019
Telephone:  (212) 277-6500
Facsimile:  (212) 277-6501

– and –

WEIL, GOTSHAL & MANGES LLP
767 Fifth Avenue
New York, New York 10153
Telephone:    (212) 310-8000
Facsimile:    (212) 310-8007

Co-counsel for Direct Entertainment
Media Group, Inc.

Dated: July 17, 2013


   THIS PLAN OF LIQUIDATION IS BEING SUBMITTED TO THE
   BANKRUPTCY COURT FOR APPROVAL. THIS PLAN OF LIQUIDATION HAS
   NOT BEEN APPROVED BY THE BANKRUPTCY COURT. ACCORDINGLY,
   THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE
   PLAN OF LIQUIDATION. ACCEPTANCES OR REJECTIONS MAY NOT BE
   SOLICITED UNTIL A DISCLOSURE STATEMENT HAS BEEN APPROVED BY
   THE BANKRUPTCY COURT.
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EXHIBIT 1 Disbursing Agent Agreement




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       Direct Entertainment Media Group, Inc. (hereinafter either “DEMG” or the
“Liquidating Debtor”) proposes the following chapter 11 plan pursuant to section 1121(a) of
the Bankruptcy Code. 1

SECTION 1. DEFINITIONS AND INTERPRETATION.

       A.      DEFINITION.

               1.1. 2012 Senior Credit Agreement means that certain Credit and Guarantee
Agreement, dated as of March 30, 2012, by and among Reader’s Digest as borrower, RDA
Holding and each of the guarantors named therein including DEMG, Wells Fargo Principal
Lending, LLC, as issuing lender, each of the other banks and lending institutions as lenders
thereunder, and Wells Fargo Bank, National Association, as administrative agent.

              1.2. Administrative Bar Date Order means an order of the Bankruptcy Court
fixing the deadline by which all Proofs of Claim for Administrative Expense Claims must be
Filed.

               1.3. Administrative Expense Claim means any Claim against DEMG for costs
and expenses of administration arising during the DEMG Case pursuant to sections 328, 330,
363, 364(c)(1), 365, 503(b) or 507(a)(2) of the Bankruptcy Code, including: (a) the actual and
necessary costs and expenses incurred after the Commencement Date and through the Effective
Date of preserving the DEMG Estate and operating the business of DEMG (such as wages,
salaries or commissions for services and payments for goods and other services and leased
premises); (b) Fee Claims; and (c) all fees and charges assessed against the DEMG Estate
pursuant to section 1911 through 1930 of chapter 123 of title 28 of the United States Code, 28
U.S.C. §§ 1-1401.

               1.4. Allowed means, with reference to any Claim against or Interest in DEMG,
(a) any Claim or Interest arising on or before the Effective Date (i) as to which no objection to
allowance has been interposed in accordance with Section 7.2 hereof, or (ii) as to which any
objection has been determined by a Final Order to the extent such objection is determined in
favor of the respective holder, (b) any Claim or Interest as to which the liability of DEMG and
the amount thereof are determined by a Final Order of a court of competent jurisdiction other
than the Bankruptcy Court or (c) any Claim or Interest expressly allowed hereunder; provided,
however, that notwithstanding the foregoing, DEMG shall retain all claims and defenses with
respect to Allowed Claims that are reinstated or otherwise Unimpaired pursuant to the Plan.

                1.5. Available Cash means that Cash available for distribution to holders of
Allowed General Unsecured Claims and shall be calculated, from to time, as that amount equal
to (a) all Cash held, or received in the future by the Liquidating Debtor and cash received
through the disposition of assets or otherwise, minus (b)(i) the Wind Down Reserve, (ii) those
amounts necessary to pay Allowed Administrative Expense Claims, Allowed Secured Claims,
Allowed Other Priority Claims and Allowed Priority Tax Claims in accordance with the Plan,
and (iii) a reserve sufficient to pay Disputed Administrative Expense Claims, Disputed Secured

1
       Capitalized terms used herein shall have the meanings set forth in Section 1.A.
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Claims, Disputed Other Priority Claims and Disputed Priority Tax Claims, if such Claims were
to be Allowed as asserted, unless a reserve in a different amount is agreed to by DEMG and the
affected claimholder or set by order of the Bankruptcy Court.

                1.6. Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§
101, et seq., as amended from time to time, as applicable to the Chapter 11 Cases.

               1.7. Bankruptcy Court means the United States Bankruptcy Court for the
Southern District of New York having jurisdiction over the Chapter 11 Cases and, to the extent
of any reference made under section 157 of title 28 of the United States Code, the unit of such
District Court having jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the
United States Code.

               1.8. Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, as amended from time to time, applicable to the Chapter 11 Cases, and any Local
Rules of the Bankruptcy Court.

               1.9. Business Day means any day other than a Saturday, Sunday or any other
day on which banking institutions in New York, New York are required or authorized to close by
law or executive order.

               1.10. Cash means legal tender of the United States of America.

                1.11. Causes of Action means any action, claim, cause of action, controversy,
demand, right, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account,
defense, offset, power, privilege, license and franchise of any kind or character whatsoever,
known, unknown, contingent or non-contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
directly or derivatively, whether arising before, on, or after the Commencement Date, in contract
or in tort, in law or in equity or pursuant to any other theory of law. Cause of Action also
includes: (a) any right of setoff, counterclaim or recoupment and any claim for breach of contract
or for breach of duties imposed by law or in equity; (b) the right to object to Claims or Interests;
(c) any claim pursuant to sections 362 or chapter 5 of the Bankruptcy Code; (d) any claim or
defense including fraud, mistake, duress and usury and any other defenses set forth in section
558 of the Bankruptcy Code; and (e) any state law fraudulent transfer claim.

                 1.12. Chapter 11 Cases means the Debtors’ jointly administered cases under
chapter 11 of the Bankruptcy Code commenced by the Debtors on or about February 17, 2013,
and continuing immediately thereafter, in the Bankruptcy Court and styled In re RDA Holding
Co., et. al., Case No. 13- 22233 (RDD).

               1.13. Claim has the meaning set forth in section 101(5) of the Bankruptcy Code

               1.14. Class means any group of Claims or Interests classified by the Plan
pursuant to section 1122(a)(1) of the Bankruptcy Code.



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                1.15. Commencement Date means February 17, 2013 the date on which DEMG
filed its voluntary petition for reorganization relief under chapter 11 of the Bankruptcy Code.

               1.16. Confirmation means the entry of the Confirmation Order on the docket of
the Chapter 11 Cases.

               1.17. Confirmation Date means the date on which the Clerk of the Bankruptcy
Court enters the Confirmation Order.

              1.18. Confirmation Hearing means the hearing to be held by the Bankruptcy
Court regarding confirmation of the Plan, as such hearing may be adjourned or continued from
time to time.

               1.19. Confirmation Order means the order of the Bankruptcy Court confirming
the Plan pursuant to section 1129 of the Bankruptcy Code.

               1.20. Consummation means the occurrence of the Effective Date of the Plan.

               1.21. Creditors Committee means the official committee of unsecured creditors
appointed in the Chapter 11 Cases.

               1.22. Debtors means collectively, the Reorganization Plan Debtors and DEMG.

              1.23. Debtors in Possession means the Debtors in their capacity as debtors in
possession in the Chapter 11 Cases pursuant to sections 1101, 1107(a), and 1108 of the
Bankruptcy Code.

               1.24. DEMG means Direct Entertainment Media Group, Inc., in its capacity as
debtor, Debtor in Possession or the Liquidating Debtor, as the case may be.

              1.25. DEMG Case means DEMG’s case under chapter 11 of the Bankruptcy
Code, designated as Case No. 13-22236 (RDD), and jointly administered as one of the Chapter
11 Cases.

             1.26. DEMG Estate means the estate of DEMG created under section 541 of the
Bankruptcy Code.

               1.27. DIP Agent means Wilmington Trust, National Association, as
administrative agent for the DIP Lenders under the DIP Loan Agreement, as its permitted
successor and assign.

              1.28. DIP Loan means that certain credit and guarantee agreement, dated as of
February 22, 2013, as amended, supplemented, restated or otherwise modified, by and among,
Reader’s Digest, as borrower, RDA Holding and each of RDA Holding’s direct and indirect
domestic subsidiaries party thereto, as guarantors, the DIP Agent, Issuing Lender, the Roll-Up
Lender and the New Money Lenders (each as defined in the Reorganization Plan).




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               1.29. Disbursing Agent means Reader’s Digest acting in its capacity as a
disbursing agent under Section 5.4 hereof or such other designee named by DEMG, provided
however, that any such designee must be approved by the Bankruptcy Court.

             1.30. Disbursing Agent Agreement means that certain agreement entered into
by and between DEMG and Reader’s Digest, dated July 17, 2013, and attached to the Plan as
Exhibit 1, wherein Reader’s Digest, inter alia, agreed to accept responsibility for acting as
Disbursing Agent under the Plan.

              1.31. Disclosure Statement means the Disclosure Statement for the Plan, which
is prepared and distributed in accordance with sections 1125, 1126(b), and/or 1145 of the
Bankruptcy Code, Bankruptcy Rule 3018 and/or other applicable law.

              1.32. Disclosure Statement Order means an order entered by the Bankruptcy
Court finding that the Disclosure Statement contains adequate information pursuant to section
1125 of the Bankruptcy Code.

                1.33. Disputed Claim means with respect to a Claim or Interest, any such Claim
or Interest (a) to the extent neither Allowed nor disallowed under the Plan or a Final Order nor
deemed Allowed under section 502, 503, or 1111 of the Bankruptcy Code, or (b) for which a
Proof of Claim or Interest for payment has been made, to the extent DEMG or any party in
interest has interposed a timely objection or request for estimation before the Confirmation Date
in accordance with the Plan, which objection or request for estimation has not been withdrawn or
determined by a Final Order.

              1.34. Distribution Date means such date or dates, including the Initial
Distribution Date, as determined by the Disbursing Agent in accordance with the terms of the
Plan, on which the Disbursing Agent makes a distribution to holders of Allowed Claims.

               1.35. Distribution Record Date means the Effective Date of the Plan.

                1.36. Effective Date means the date on which all conditions to the effectiveness
of the Plan as set forth in Section 9.2 hereof have been satisfied or waived in accordance with the
terms of the Plan.

               1.37. Entity has the meaning set forth in section 101(15) of the Bankruptcy
Code.

              1.38. Equity Interest means any Interest in DEMG that existed immediately
before the Commencement Date.

               1.39. Exculpated Parties means collectively: (a) DEMG; (b) the Creditors
Committee; and (c) with respect to each of the foregoing entities, such entities’ predecessors,
successors and assigns, subsidiaries and affiliates, and current and former officers and directors,
principals, shareholders, members, agents, financial advisors, attorneys, accountants, and other
professionals, and such persons’ respective heirs, executors, estates, servants and nominees, in
each case in their capacity as such.


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               1.40. Fee Claim means a Claim for professional services rendered or costs
incurred on or after the Commencement Date through the Effective Date by professional persons
retained by DEMG or the Creditors Committee pursuant to sections 328, 329, 330, 331, 503(b)
or 1103 of the Bankruptcy Code in the Chapter 11 Cases.

               1.41. File, Filed, or Filing means file, filed, or filing in the Chapter 11 Cases
with the Bankruptcy Court or with respect to the filing of a Proof of Claim or Proof of Interests,
the Notice and Claims Agent.

               1.42. Final Decree has the meaning set forth in Bankruptcy Rule 3022.

                1.43. Final Order means an order or judgment of a court of competent
jurisdiction that has been entered on the docket maintained by the clerk of such court, which has
not been reversed, vacated or stayed and as to which (a) the time to appeal, petition for
certiorari, or move for a new trial, reargument or rehearing has expired and as to which no
appeal, petition for certiorari, or other proceedings for a new trial, reargument or rehearing shall
then be pending, or (b) if an appeal, writ of certiorari, new trial, reargument or rehearing thereof
has been sought, such order or judgment shall have been affirmed by the highest court to which
such order was appealed, or certiorari shall have been denied, or a new trial, reargument or
rehearing shall have been denied or resulted in no modification of such order, and the time to
take any further appeal, petition for certiorari or move for a new trial, reargument or rehearing
shall have expired; provided, however, that no order or judgment shall fail to be a “Final Order”
solely because of the possibility that a motion pursuant to section 502(j) or 1144 of the
Bankruptcy Code or under Rule 60 of the Federal Rules of Civil Procedure or Bankruptcy Rule
9024 has been or may be filed with respect to such order or judgment.

               1.44. Final Report means the report Filed after the DEMG Estate is fully
administered in furtherance of the Liquidating Debtor’s motion for a Final Decree.

               1.45. FTC means the United States Federal Trade Commission.

              1.46. FTC Action means that certain action styled Federal Trade Commission v.
Fitness Brands, Inc., et al., Case No. 12-23065-CMA (S.D. Fl. 2012).

              1.47. FTC Claims means a General Unsecured Claim in the amount of
$26,667,200, allowed pursuant to the FTC Stipulation.

              1.48. FTC Settlement Order means the Stipulated Final Judgment and Order for
Permanent Injunction and Other Equitable Relief Against Defendants Direct Holdings Americas,
Inc., and DEMG, and Relief Defendant Reader’s Digest, dated August 27, 2012, entered in the
FTC Action.

              1.49. FTC Stipulation means a certain stipulation dated May 28, 2013 and
approved by an order of the Bankruptcy Court dated June 28, 2013.

                 1.50. General Unsecured Claim means any unsecured Claim against DEMG
that is not entitled to priority under the Bankruptcy Code or any order of the Bankruptcy Court,
including without limitation, any FTC Claims and any Senior Noteholder Deficiency Claims.

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              1.51. Impaired means, with respect to a Claim, Interest or Class of Claims or
Class of Interests, “impaired” within the meaning of section 1123(a)(4) and 1124 of the
Bankruptcy Code.

               1.52. Indenture means that certain Indenture, dated as of February 11, 2010
among RD Escrow Corporation, Reader’s Digest, RDA Holding, and the subsidiary guarantors
thereunder, the Indenture Trustee, and Wilmington Trust, National Association (as successor to
Wilmington Trust FSB), as collateral agent.

               1.53. Indenture Trustee means Wilmington Trust, National Association (as
successor by appointment to Wells Fargo Bank, National Association) in its capacity as the
indenture trustee under the Indenture, and its permitted successors and assigns.

              1.54. Indenture Trustee Fees means the reasonable compensation, fees,
expenses, disbursements and indemnity claims arising under the Indenture, including attorneys’
and agents’ fees, expenses, and disbursements, incurred under the Indenture by the Indenture
Trustee, whether prior to or after the Commencement Date and whether prior to or after the
Consummation of the Reorganization Plan.

              1.55. Initial Distribution means the first distribution that the Disbursing Agent
makes to holders of Allowed Claims.

               1.56. Initial Distribution Date means the date occurring on or as soon as
reasonably practicable after the Effective Date on which the Disbursing Agent makes the Initial
Distribution to holders of Allowed Claims, but in no event more than sixty (60) days after
DEMG receives a distribution pursuant to the Reorganization Plan on account of its allowed,
general unsecured claim against the Reorganization Plan Debtors.

              1.57. Interests means any equity security in DEMG as defined in section
101(16) of the Bankruptcy Code, including all common stock, preferred stock or other
instruments evidencing an ownership interest in DEMG, whether or not transferable, and any
option, warrant or right, contractual or otherwise, to acquire any such interests in DEMG that
existed immediately before the Effective Date.

               1.58. Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

               1.59. Liquidating Debtor means DEMG on and after the Effective Date.

               1.60. Notice and Claims Agent means Epiq Bankruptcy Solutions, Inc., in its
capacity as notice and claims agent for the Debtors.

               1.61. Notice and Hearing Requirements has the meaning set forth in section
102(1) of the Bankruptcy Code.

                1.62. Other Priority Claim means any Claim against DEMG, other than an
Administrative Expense Claim or a Priority Tax Claim, entitled to priority in payment as
specified in section 507(a)(3), (4), (5), (6), (7) or (9) of the Bankruptcy Code.


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                1.63. Parent Advance means such amounts advanced by Reader’s Digest,
pursuant to the FTC Stipulation, to or for the benefit of DEMG for the purpose of paying
DEMG’s costs and expenses of implementing or administering the Plan or in effectuating the
Wind Down, provided, however, that Reader’s Digest’s obligation to make such advances shall
be limited to, and capped at, $50,000 in the aggregate, and shall be conditional on DEMG having
insufficient cash or other resources (excluding (i) distributions made or to be made to DEMG
pursuant to the Reorganization Plan, and (ii) the proceeds of any sale or other disposition of any
DEMG assets) to pay such costs and expenses in full. Nothing herein contained shall limit or
otherwise impair Reader’s Digest’s ability, in its sole discretion, to make advances to DEMG in
excess of $50,000. To the extent that the proceeds of any Parent Advances held by DEMG have
not been disbursed upon the entry of a Final Decree, such undisbursed proceeds shall be
immediately turned over to Reader’s Digest.

               1.64. RDA Holding means RDA Holding Co.

                1.65. Person means an individual, corporation, partnership, joint venture,
association, joint stock company, limited liability company, limited liability partnership, trust,
estate, unincorporated organization, governmental unit (as defined in section 101(27) of the
Bankruptcy Code) or other entity.

                1.66. Plan means this chapter 11 plan of liquidation, including the attached
exhibit, as the same may be amended or modified from time to time in accordance with Section
12.5 herein.

               1.67. Priority Tax Claim means any secured or unsecured Claim against DEMG
of a governmental unit of the kind entitled to priority in payment as specified in sections 502(i)
and 507(a)(8) of the Bankruptcy Code.

              1.68. Proof of Claim means a proof of Claim Filed against DEMG in the
Chapter 11 Cases.

              1.69. Proof of Interest means a proof of Interest Filed against DEMG in the
Chapter 11 Cases.

               1.70. Pro Rata means the proportion that an Allowed Claim in a particular Class
bears to the aggregate amount of Allowed Claims in that Class, or the proportion that Allowed
Claims in a particular Class bear to the aggregate amount of Allowed Claims and Disputed
Claims in a particular Class and other Classes entitled to share in the same recovery as such
Allowed Class under the Reorganization Plan.

               1.71. Reader’s Digest means The Reader’s Digest Association, Inc.

                1.72. Released Parties means, collectively, (a) the Disbursing Agent, (b) the
Reorganization Plan Debtors, (c) the Consenting Senior Noteholders, (d) the Consenting Lender,
(e) the Issuing Lender, (f) the Roll-Up Lender, (g) the Creditors Committee, and (h) with respect
to each of (a) through (h) above, their respective directors, officers, shareholders, partners,
members, employees, agents, affiliates, parents, predecessors, successors, attorneys, financial


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advisors, investment bankers, accountants and other professionals or representatives when acting
in such capacities.2

               1.73. Releasing Parties means, collectively (a) the Creditors Committee and the
members thereof and (b) each holder of a Claim that affirmatively votes to accept the DEMG
Plan, each solely in its capacity as such.

              1.74. Reorganization Plan means the Second Amended Joint Plan of
Reorganization of Certain Debtors Under Chapter 11 of the Bankruptcy Code, Filed by the
Reorganization Plan Debtors, as amended or modified from time to time, and as confirmed by
the Bankruptcy Court by order dated June 28, 2013.

               1.75. Reorganization Plan Debtors means RDA Holding Co., The Reader’s
Digest Association, Inc., Ardee Music Publishing, Inc.; Pegasus Sales, Inc.; Pleasantville Music
Publishing, Inc.; R.D. Manufacturing Corporation; Reiman Manufacturing, LLC; RD
Publications, Inc.; Home Service Publications, Inc.; RD Large Edition, Inc.; RDA Sub Co. (f/k/a
Books Are Fun, Ltd.); Reader’s Digest Children’s Publishing, Inc.; Reader’s Digest Consumer
Services, Inc.; Reader’s Digest Entertainment, Inc.; Reader’s Digest Financial Services, Inc.;
Reader’s Digest Latinoamerica, S.A.; WAPLA, LLC; Reader’s Digest Sales and Services, Inc.;
Taste of Home Media Group, LLC; Reiman Media Group, LLC; Taste of Home Productions,
Inc.; World Wide Country Tours, Inc.; W.A. Publications, LLC; WRC Media, Inc.; RDCL, Inc.
(f/k/a CompassLearning, Inc.); RDA Digital, LLC; RDWR, Inc. (f/k/a Weekly Reader
Corporation); Haven Home Media, LLC (f/k/a Reader’s Digest Sub Nine, Inc.); Weekly Reader
Custom Publishing, Inc. (f/k/a Lifetime Learning Systems, Inc.); and World Almanac Education
Group, Inc.

              1.76. Security means any security, as such term is defined in section 101(49) of
the Bankruptcy Code.

                1.77. Secured Claim means a Claim against DEMG (other than an
Administrative Expense Claim, a Priority Tax Claim or a 2012 Senior Credit Agreement Claim)
to the extent (i) secured by property of the DEMG Estate, the amount of which is equal to or less
than the value of such property (A) as set forth in the Plan, (B) as agreed to by the holder of such
Claim and DEMG, or (C) as determined by a Final Order in accordance with section 506(a) of
the Bankruptcy Code, or (ii) secured by the amount of any rights of setoff of the holder thereof
under section 553 of the Bankruptcy Code.

               1.78. Senior Credit Agreement Claim means a Secured Claim, derived from,
based upon, relating to or arising from the 2012 Senior Credit Agreement.

              1.79. Senior Noteholder Deficiency Claim means the General Unsecured
Claims of the Senior Noteholders relating to or arising from the Indenture, in the total aggregate
amount of $244,923,799.20.


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        With respect to (c) through (f), above, such terms used but not defined herein, are each defined in
the Reorganization Plan.

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                1.80. Senior Noteholders means the respective beneficial holders of the Senior
Notes.

              1.81. Senior Notes means the Series A and Series B Floating Rate Senior
Secured Notes due 2017 issued under the Indenture.

                1.82. Subordinated Securities Claims means a Claim subject to subordination
under section 510(b) of the Bankruptcy Code, and any Claim for or that arises from the
rescission of a purchase, sale, issuance or offer of a Security of DEMG, or for damages arising
from the purchase of sale of such a Security, or for reimbursement, indemnification, or
contribution allowed under section 502 of the Bankruptcy Code on account of such Claim.

                1.83. Tax Code means the Internal Revenue Code of 1986, as amended from
time to time.

                1.84. Unimpaired means, with respect to a Claim, Interest or Class of Claims or
Interests, not “impaired” within the meaning of section 1123(a)(4) and 1124 of the Bankruptcy
Code.

                1.85. Unsecured Term Lenders means the holders of Unsecured Term Loan
Claims.

               1.86. Unsecured Term Loan means that certain unsecured term loan credit and
guarantee agreement, dated as of August 12, 2011, among RDA Holding, Reader’s Digest, the
other guarantors named thereunder, the lenders party thereto, and Luxor Capital Group, LP, as
administrative agent.

               1.87. Unsecured Term Loan Claim means, pursuant to the 2011 Financing
Settlement (as such term is defined in the Reorganization Plan), the General Unsecured Claims
to be Allowed as Class 3 General Unsecured Claims, derived from, based upon, relating to or
arising from the Unsecured Term Loan.

                1.88. Wind Down means the wind down of DEMG’s affairs in accordance with
the Plan, as such term is defined in Section 5.1.

              1.89. Wind Down Reserve means the sum of (a) $25,000 or such other amount
determined by the Bankruptcy Court, subject to the Notice and Hearing Requirement, for the
purpose of determining Available Cash until the final Distribution Date, and (b) thereafter, zero
($0) dollars.

         B.     Interpretation; Application of Definitions and Rules of Construction.

               Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in, or exhibit to, the Plan, as the same may be amended or modified from
time to time. The words “herein,” “hereof,” “hereto,” “hereunder” and other words of similar
import refer to the Plan as a whole and not to any particular section, subsection or clause
contained therein. The headings in the Plan are for convenience of reference only and shall not
limit or otherwise affect the provisions hereof. For purposes of the Plan: (1) in the appropriate

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context, each term, whether stated in the singular or the plural, shall include both the singular
and the plural, and pronouns stated in the masculine, feminine or neuter gender shall include
the masculine, feminine and the neuter gender; (2) any reference herein to a contract, lease,
instrument, release, indenture or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that
form or substantially on those terms and conditions; (3) unless otherwise specified, all references
herein to “Sections” are references to Sections hereof or hereto; (4) the rules of construction set
forth in section 102 of the Bankruptcy Code shall apply; and (5) any term used in capitalized
form herein that is not otherwise defined but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be.

       C.       Reference to Monetary Figures.

               All references in the Plan to monetary figures shall refer to the legal tender of the
United States of America, unless otherwise expressly provided.

       D.      Controlling Document.

                In the event of an inconsistency between the Plan and the Disclosure Statement,
the Plan shall control in all respects (unless stated otherwise in the Plan). The provisions of the
Plan and of the Confirmation Order shall be construed in a manner consistent with each other so
as to effect the purposes of each; provided, that if there is determined to be any inconsistency
between any Plan provision and any provision of the Confirmation Order that cannot be so
reconciled, then, solely to the extent of such inconsistency, the provisions of the Confirmation
Order shall govern and any such provision of the Confirmation Order shall be deemed a
modification of the Plan and shall control and take precedence.

SECTION 2. ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

               2.1.    Administrative Expense Claims.

                      (a)    Bar Date. Any Entity that has and wishes to assert an
Administrative Expense Claim (other than a Fee Claim) against DEMG shall be obligated to
timely file a Proof of Claim therefor in accordance with the procedures set forth by the
Bankruptcy Court in the Administrative Bar Date Order, failing which such Entity shall be
forever barred from seeking payment of such Claim or otherwise seeking to enforce its rights
with respect to such Claim against DEMG.

                       (b)    Payment. Except to the extent that a holder of an Allowed
Administrative Expense Claim and DEMG agree to different treatment, the Liquidating Debtor
shall pay to each holder of an Allowed Administrative Expense Claim Cash in an amount equal
to such Claim on, or as soon thereafter as is reasonably practicable, the later of (a) the Effective
Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
such Administrative Expense Claim becomes an Allowed Administrative Expense Claim.




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               2.2.    Fee Claims.

               All Entities seeking an award by the Bankruptcy Court of Fee Claims against
DEMG (a) shall file their respective final applications for allowance of compensation for
services rendered and reimbursement of expenses incurred by the day that is forty-five (45) days
after the Effective Date, (b) shall be paid in full by the Liquidating Debtor in such amounts as
Allowed by the Bankruptcy Court (i) upon the later of (A) the Effective Date and (B) the date
upon which the order relating to any such Allowed Fee Claim is entered or (ii) upon such other
terms as may be mutually agreed upon between the holder of such an Allowed Fee Claim and the
Liquidating Debtor. The Liquidating Debtor is authorized to pay compensation for services
rendered or reimbursement of expenses incurred after the Effective Date in the ordinary course
and without the need for Bankruptcy Court approval.

               2.3.    Priority Tax Claims.

                Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a
different treatment, each holder of an Allowed Priority Tax Claim shall be paid by the
Liquidating Debtor (a) in full, in Cash, in an amount equal to such Allowed Priority Tax Claim
on, or as soon thereafter as is reasonably practicable, the later of (i) the Effective Date, (ii) the
first Business Day after the day that is thirty (30) calendar days after the date such Priority Tax
Claim becomes an Allowed Priority Tax Claim, and (iii) the date such Allowed Priority Tax
Claim becomes due and payable in the ordinary course, or (b) in equal annual Cash payments in
an aggregate amount equal to such Allowed Priority Tax Claim commencing on, or as soon
thereafter as is reasonably practicable, the later of the dates specified in clause (a), together
with interest at the applicable rate under section 511 of the Bankruptcy Code, over a period not
exceeding five (5) years after the Commencement Date; provided that, in the case of clause (b),
such payments must be made in a manner not less favorable than the most favored non-priority
unsecured Claim provided for under the Plan, and DEMG reserves the right to prepay all or a
portion of such Allowed Priority Tax Claim at any time.

               2.4.    Indenture Trustee Fees.

                Any and all Indenture Trustee Fees shall be satisfied in accordance with the
provisions of the Reorganization Plan and the Liquidating Debtor shall have no liability with
respect to the payment or other satisfaction of the Indenture Trustee Fees.

SECTION 3. CLASSIFICATION OF CLAIMS AND INTERESTS.

               3.1.    Summary of Classification.

                The following table designates the Classes of Claims against, and Interests in,
DEMG and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan, (b)
entitled to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy
Code and (c) deemed to reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy
Code, Administrative Expense Claims and Priority Tax Claims have not been classified and,
thus, are excluded from the Classes of Claims and Interests set forth in this Section 3. All of the
potential Classes of Claims and Interests are set forth herein. Based upon the confirmation of the
Reorganization Plan and the treatment provided thereunder to the Claims of Senior Noteholders

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and the Claims of the Unsecured Term Lenders, Senior Noteholders do not have a Secured
Claim, and the Unsecured Term Lenders do not have a General Unsecured Claim, against
DEMG, and, accordingly, no such Claims have been classified.


    Class         Designation                              Treatment           Entitled to Vote

     1      Other Priority Claims                          Unimpaired                No
                                                                              (deemed to accept)

     2      Secured Claims                                  Impaired3                 Yes


     3      General Unsecured Claims                        Impaired                  Yes


     4      Equity Interests                                Impaired                  Yes



               3.2.   Special Provision Governing Unimpaired Claims.

               Except as otherwise provided in the Plan, nothing under the Plan shall affect
the rights of DEMG, in respect of any Unimpaired Claims, including all rights in respect of
legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired
Claims.

               3.3.   Elimination of Vacant Classes.

               Any Class of Claims or Interests that, as of the commencement of the
Confirmation Hearing, does not have at least one holder of a Claim or Interest that is Allowed in
an amount greater than zero for voting purposes shall be considered vacant, deemed eliminated
from the Plan for purposes of voting to accept or reject the Plan, and disregarded for purposes of
determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
that Class.

SECTION 4. TREATMENT OF CLAIMS AND INTERESTS.

               4.1.   Other Priority Claims (Class 1).

                      (a)       Classification: Class 1 consists of all Other Priority Claims.

                      (b)      Treatment: Except to the extent that a holder of an Allowed Other
Priority Claim has agreed to less favorable treatment of such Claim, each such holder shall
receive, in full and final satisfaction of such Claim, Cash in an amount equal to such Claim,
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      DEMG reserves the right to argue at the Confirmation Hearing that Class 2 (Secured Claims) is
Unimpaired.

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payable on the later of the Effective Date and the date on which such Other Priority Claim
becomes an Allowed Other Priority Claim, in each case, or as soon as reasonably practical
thereafter.

                     (c)    Voting: Class 1 is Unimpaired, and the holders of Other Priority
Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, holders of Other Priority Claims are not entitled to vote to accept
or reject the Plan.

               4.2.    Secured Claims (Class 2).

                       (a)     Classification: Class 2 consists of all Secured Claims. To the
extent that Secured Claims are secured by different collateral or different interests in the same
collateral, such Claims shall be treated as separate subclasses of Class 2.

                       (b)     Treatment: Except to the extent that a holder of an Allowed
Secured Claim has agreed to less favorable treatment of such Claim, each holder of an Allowed
Secured Claim shall receive in full and final satisfaction of such Claim, at DEMG’s option,
either (i) Cash in amount equal to such Claim, payable on the later of the Effective Date and the
date on which such Secured Claim becomes an Allowed Secured Claim, or, in each case, as soon
as reasonably practical thereafter, or (ii) delivery of the collateral securing such Allowed Secured
Claim and payment of any interest required under Section 506(b) of the Bankruptcy Code, or (iii)
such other recovery necessary to satisfy section 1129 of the Bankruptcy Code.

                        (c)     Voting: Class 2 is Impaired, and holders of Secured Claims in
Class 2 are entitled to vote to accept or reject the Plan; provided, however, that DEMG reserves
the right to argue at the Confirmation Hearing that Class 2 (Secured Claims) is Unimpaired.

               4.3.    General Unsecured Claims (Class 3).

                       (a)    Classification: Class 3 consists of all General Unsecured Claims.

                       (b)   Treatment: On the Effective Date, or as soon thereafter as is
reasonably practicable, except to the extent that a holder of an Allowed General Unsecured
Claim agrees to less favorable treatment of such Allowed General Unsecured Claim or has been
paid before the Effective Date, each holder of an Allowed General Unsecured Claim, shall
receive its Pro Rata share of Available Cash, provided, however, that the holders of Senior
Noteholder Deficiency Claims have waived their distribution pursuant to the FTC Stipulation.

                       (c)       Voting: Class 3 is Impaired, and holders of General Unsecured
Claims in Class 3 are entitled to vote to accept or reject the Plan. For the avoidance of doubt, the
holders of Senior Noteholder Deficiency Claims are entitled to vote to accept or reject the Plan
as holders of General Unsecured Claims in Class 3.

               4.4.    Equity Interests (Class 4).

                       (a)    Classification: Class 4 consists of all Equity Interests.


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                      (b)     Treatment: The holder of the Equity Interests shall retain such
Interests, provided, however, that no distribution of any property of the Liquidating Debtor shall
be made to such holder unless and until all General Unsecured Claims are paid in full with
applicable interest and provided, further, that once all distributions under the Plan have been
made, the Liquidating Debtor shall be dissolved and such Interests shall be cancelled and of no
further effect.

                        (c)     Voting: Class 4 is Impaired, and holders of Equity Interests in
Class 4 are entitled to vote to accept or reject the Plan.

SECTION 5. MEANS FOR IMPLEMENTATION.

               5.1.   Wind Down.

               From and after the Effective Date, the Liquidating Debtor, subject to other
provisions of this Plan, shall take such actions as may be reasonably calculated to maximize the
recovery to holders of Claims.

               The Liquidating Debtor shall have the power and authority to perform the
following acts (together, the “Wind Down”), in addition to any powers granted by law or
conferred by any other provision of the Plan and orders of the Bankruptcy Court; provided,
however, that enumeration of the following powers shall not be considered in any way to limit or
control the power of the Liquidating Debtor to act as specifically authorized by any other
provision of the Plan or orders of the Bankruptcy Court, and to act in such manner as may be
necessary or desirable to discharge all obligations assumed by the Liquidating Debtor as
provided herein, including without limitation and by example only:

                      (a)     determine tax issues or liabilities in accordance with section 505 of
                              the Bankruptcy Code;

                      (b)     resolve any objections to the allowance or priority of Claims,
                              Administrative Expenses Claims or Interests;

                      (c)     resolve any dispute as to the treatment necessary to reinstate a
                              Claim, Administrative Expense Claims or Interests pursuant to the
                              Plan;

                      (d)     distribute Cash in the DEMG Estate to creditors consistent with the
                              terms of the Plan;

                      (e)     perfect and secure the Liquidating Debtor’s right, title and interest
                              to property of the DEMG Estate;

                      (f)     manage and protect property of the DEMG Estate and distribute
                              the net proceeds of the sale of such property consistent with the
                              terms of the Plan;



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                      (g)     purchase or continue insurance to protect the Liquidating Debtor
                              and property of the DEMG Estate;

                      (h)     deposit DEMG funds, draw checks and make disbursements
                              thereof consistent with the terms of the Plan;

                      (i)     employ, retain and compensate, and discharge and dismiss, without
                              further order of the Bankruptcy Court, professionals as the
                              Liquidating Debtor may deem necessary or desirable to assist in
                              fulfilling the purposes of the Plan, including the continued
                              retention and payment of professionals in connection with any
                              ongoing litigation or other matters pursued or conducted by the
                              Liquidating Debtor whether on an hourly, flat fee or contingency
                              basis;

                      (j)     commence or prosecute in the name of the Liquidating Debtor any
                              lawsuit or other legal or equitable action (except to the extent
                              released pursuant to the terms of the Plan), including, without
                              limitation, filing objections to, or estimation of, Claims, in any
                              court of competent jurisdiction, which are necessary to carry out
                              the terms and conditions of the Plan;

                      (k)     settle, compromise or adjust any disputes or controversies in favor
                              of, or against, the Liquidating Debtor;

                      (l)     incur and pay all Plan expenses and reasonable costs and expenses
                              incident to the performance of the duties of the Liquidating Debtor
                              under the Plan, including without limitation, reasonable rent for
                              office space and storage, office supplies, travel and expense
                              reimbursement, insurance, and other obligations;

                      (m)     prepare and file tax returns, as mandated by applicable local, state,
                              federal and foreign law;

                      (n)     seek entry of a Final Decree at the appropriate time; and

                      (o)     take such other actions as the Liquidating Debtor may determine to
                              be necessary or desirable to carry out the purpose of the Plan.

               5.2.   Continued Corporate Existence.

               From and after the Effective Date through and including the date of its dissolution
under applicable law, (a) the Liquidating Debtor will continue to exist as a separate corporation,
and (b) the Liquidating Debtor shall retain all of the powers of corporations under applicable
non-bankruptcy law, and without prejudice to any right to amend its charter, dissolve, merge or
convert into another form of business entity, or to alter or terminate its existence, provided that
the Liquidating Debtor’s sole purpose from and after the Effective Date will be to make

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distributions to creditors holding Allowed Claims consistent with the Plan and to otherwise
effectuate the Wind Down.

               5.3.    Disposition of Assets.

               The Liquidating Debtor shall monetize all property of the DEMG Estate, subject
to the following conditions:

                        (a)     Court approval. Bankruptcy Court approval shall not be
necessary for any disposition of property of the DEMG Estate if such property is sold for Cash
for its fair market value in an arm’s length transaction with a party unrelated to the Debtors. All
other dispositions of property of the DEMG Estate shall be subject to the Notice and Hearing
Requirements.

                     (b)    Sale Proceeds. Except with Bankruptcy Court approval, all sales
of property of the DEMG Estate shall be for Cash.

                      (c)    Abandonment.     The Liquidating Debtor may abandon any
property of the DEMG Estate which, in the exercise of its business judgment, the Liquidating
Debtor reasonably believes is burdensome to the DEMG Estate or is of inconsequential value
and benefit to the DEMG Estate.

               5.4.    Disbursing Agent.

                The Disbursing Agent shall make all distributions required under this Plan in
accordance with the Disbursing Agent Agreement, provided however, for the avoidance of doubt
the Disbursing Agent shall have no obligation to reconcile claims. Upon the Effective Date,
Reader’s Digest shall serve as the initial Disbursing Agent pursuant to the Disbursing Agent
Agreement. Except as otherwise provided in the Disbursing Agent Agreement, the Disbursing
Agent shall be entitled to receive from the DEMG Estate reasonable compensation for its
services as disbursing agent and shall be entitled to reimbursement of all of its reasonable out-of-
pocket expenses incurred in connection with its services as Disbursing Agent. All payments
made to the Disbursing Agent shall be disclosed in the Final Report, but shall not be subject to
Bankruptcy Court approval.

                The Disbursing Agent shall not be required to give any bond or surety or other
security for the performance of its duties, and all reasonable fees and expenses incurred by such
Disbursing Agent shall be reimbursed by the Liquidating Debtor, except as otherwise provided
in the Disbursing Agent Agreement.

              The Disbursing Agent shall hold the Available Cash in a segregated non-interest
bearing account.

               The Disbursing Agent shall be empowered to (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties hereunder, (b)
make all distributions contemplated hereby and (c) exercise such other powers as may be vested
in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by
the Disbursing Agent to be necessary and proper to implement the provisions hereof.

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              Pursuant to the Disbursing Agent Agreement, in consideration for serving as the
Disbursing Agent, Reader’s Digest shall be entitled to certain indemnifications, exculpations
and releases arising out of or relating to the Disbursing Agent Agreement and the services
provided thereunder. See Section 2(f) of the Disbursing Agent Agreement.

               5.5.   Allowance of Claims.

               All Claims and Interests asserted against the DEMG Estate shall be subject to
allowance or disallowance in accordance with the Bankruptcy Code and Bankruptcy Rules,
consistent with the process set forth in Section 7 of this Plan.

               5.6.   Distributions.

              All distributions to holders of Allowed Claims shall be made by the Disbursing
Agent in accordance with Section 6 of this Plan and the Disbursing Agent Agreement.

               5.7.   Governance.

               From and after the Effective Date, the Liquidating Debtor shall be managed and
administered by its board of directors, so long as such board has at least one member. Any
vacancies on the board of directors shall be filled in accordance with DEMG’s organization
documents. As of the Effective Date, the provisions of this Plan applicable to the corporate
governance of the Liquidating Debtor shall supersede any contrary provision of the certificate of
incorporation, bylaws, or certificate of incorporation of the Liquidating Debtor, which are
hereby deemed amended to so provide.

               5.8.   Cancellation of Liens.

               Except as otherwise specifically provided herein with respect to Class 2, upon the
occurrence of the Effective Date, any Lien securing any Secured Claim shall be deemed released,
and the holder of such Secured Claim shall be authorized and directed to release any collateral or
other property of the Liquidating Debtor (including any Cash collateral) held by such holder and
to take such actions as may be requested by the Liquidating Debtor, to evidence the release of
such Lien, including the execution, delivery and filing or recording of such releases as may be
requested by the Liquidating Debtor.

               5.9.   Corporate Action.

               On the Effective Date, the matters under the Plan involving or requiring corporate
action of DEMG, including but not limited to actions requiring a vote or other approval of
DEMG’s board of directors or shareholders, or the execution of any documentation incident to or
in furtherance of the Plan shall be deemed to have been authorized by the Confirmation Order
and to have occurred and be in effect from and after the Effective Date without any further action
by the Bankruptcy Court or the officers or directors of DEMG.

               On the Effective Date, DEMG’s charter shall be amended, if necessary, to include
a provision prohibiting the issuance of nonvoting equity securities and such other provisions as
may be required pursuant to section 1123(a)(6) of the Bankruptcy Code. The Liquidating Debtor

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may prepare, execute and/or file with the Delaware Secretary of State and other state
governmental authorities having jurisdiction over the Liquidating Debtor such amendments of its
charter as may be necessary or appropriate under applicable non-bankruptcy law to fully
effectuate such amendment.

                Notwithstanding anything to the contrary in the Plan, neither the Disbursing
Agent nor the Liquidating Debtor nor their respective officers and/or directors shall be liable as a
result of any action taken in accordance with the provisions of the Plan, and after the entry of the
Final Decree, neither its officers nor its directors shall have any responsibility for the Liquidating
Debtor, including any further responsibility for the management, supervision, administration,
liquidation, winding up, or cancellation of the charter of the Liquidating Debtor.

               5.10. Dissolution.

               Upon the completion of the Wind Down and the entry of a Final Decree, DEMG
shall be deemed dissolved for all purposes without the necessity for any other or further actions
to be taken by or on behalf of DEMG or payments to be made in connection therewith; provided,
however, that DEMG, or an agent on behalf of DEMG, shall file with the Office of the Delaware
Secretary of State a certificate of dissolution which may be executed by an officer of DEMG, or
an agent on behalf of DEMG, without the need for approval by any board of directors,
stockholders, members, or managers as applicable. From and after the date of the entry of the
Final Decree, DEMG shall not be required to file any document, or take any other action, or
obtain any approval from any DEMG board of directors, stockholders, members, or managers to
withdraw DEMG’s business operations from any state in which DEMG previously conducted
business operations.

               5.11. Withholding and Reporting Requirements.

                        (a)     Withholding Rights. In connection with the Plan, any party
issuing any instrument or making any distribution described in the Plan shall comply with all
applicable withholding and reporting requirements imposed by any federal, state, or local taxing
authority, and all distributions pursuant to the Plan and all related agreements shall be subject to
any such withholding or reporting requirements. Each holder of an Allowed Claim or any other
Person that receives a distribution pursuant to the Plan shall have responsibility for any taxes
imposed by any governmental unit, including, without limitation, income, withholding, and other
taxes, on account of such distribution. Any party issuing any instrument or making any
distribution pursuant to the Plan has the right, but not the obligation, to not make a distribution
until such holder has made arrangements satisfactory to such issuing or disbursing party for
payment of any such tax obligations.

                       (b)     Forms.    Any party entitled to receive any property as a
distribution under the Plan shall, upon request, deliver to the Disbursing Agent or such other
Person designated by the Liquidating Debtor (which entity shall subsequently deliver to the
Disbursing Agent any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-
9 or (if the payee is a foreign Person) Form W-8, unless such Person is exempt under the Tax
Code and so notifies the Disbursing Agent. If such request is made by the Liquidating Debtor,
the Disbursing Agent, or such other Person designated by the Liquidating Debtor and the holder

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fails to comply before the date that is 180 days after the request is made, the amount of such
distribution shall irrevocably revert to the Liquidating Debtor and any Claim in respect of such
distribution shall be discharged and forever barred from assertion against such Liquidating
Debtor or its respective property.

               5.12. Effectuating Documents; Further Transactions.

               On and after the Effective Date, the Liquidating Debtor and the officers and
members of the board of directors thereof, are authorized to and may issue, execute, deliver, file
or record such contracts, securities, instruments, releases and other agreements or documents and
take such actions as may be necessary or appropriate to effectuate, implement and further
evidence the terms and conditions of the Plan in the name of and on behalf of the Liquidating
Debtor, without the need for any approvals, authorization, or consents except for those expressly
required pursuant to the Plan.

               5.13. Closing of the DEMG Case.

              After the DEMG Estate has been fully administered, the Liquidating Debtor shall
promptly seek a Final Decree.

SECTION 6. DISTRIBUTIONS.

               6.1.   Distribution Record Date.

              As of the close of business on the Distribution Record Date, the transfer register
for each of the Classes of Claims or Interests as maintained by DEMG or its agents, shall be
deemed closed, and there shall be no further changes in the record holders of any of the Claims
or Interests. DEMG shall have no obligation to recognize any transfer of Claims or Interests
occurring on or after the Distribution Record Date.

               6.2.   Date of Distributions.

                Except as otherwise provided herein, the Disbursing Agent shall make the Initial
Distribution to holders of Allowed Claims no later than the Initial Distribution Date and
thereafter, the Disbursing Agent shall from time to time determine, the subsequent Distribution
Dates, which shall occur no less frequently than semi-annually. In the event that any payment
or act under the Plan is required to be made or performed on a date that is not a Business Day,
then the making of such payment or the performance of such act may be completed on or as
soon as reasonably practicable after the next succeeding Business Day, but shall be deemed to
have been completed as of the required date.

              In the event the holders of Allowed General Unsecured Claims have not received
payment in full on account of their Claims after the resolution of all Disputed Claims, then the
Disbursing Agent shall make a final distribution of all remaining Available Cash to all holders
of Allowed General Unsecured Claims.




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               6.3.   Cancellation of Senior Notes.

               Each record holder of a Senior Note Claim shall be deemed to have surrendered
the certificates or other documentation underlying each such Claim, and all such surrendered
certificates and other documentations shall be deemed to be canceled except to the extent
otherwise provided herein. Such surrendered Senior Notes shall be cancelled solely with
respect to DEMG, and such cancellation shall not alter the obligations or rights of any third
parties vis-à-vis one another with respect to such Senior Notes.

               6.4.   Delivery of Distributions.

               Subject to Bankruptcy Rule 9010, all distributions to any holder of an Allowed
Claim shall be made by the Disbursing Agent. In the event that any distribution to any holder is
returned as undeliverable, no further distributions shall be made to such holder unless and until
the Disbursing Agent is notified in writing of such holder’s then-current address, at which time
all currently-due, missed distributions shall be made to such holder as soon as reasonably
practicable thereafter. Undeliverable distributions or unclaimed distributions shall remain in the
possession of the Liquidating Debtor until such time as a distribution becomes deliverable or
holder accepts distribution, or such distribution reverts back to the Liquidating Debtor, as
applicable, and shall not be supplemented with any interest, dividends or other accruals of any
kind. Such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of 180 days from the date of distribution. After such date, all
unclaimed property or interest in property shall revert to the Liquidating Debtor, and the claim
of any holder to such property or interest in property shall be discharged and forever barred.
Distributions to holders of General Unsecured Claims that are deemed unclaimed property
pursuant to the preceding sentence shall be redistributed to the holders of Allowed General
Unsecured Claims in accordance with Section 4.4 herein.

               6.5.   Manner of Payment Under Plan.

            At the option of the Disbursing Agent, any Cash payment to be made hereunder
may be made by a check or wire transfer or as otherwise required or provided in applicable
agreements.

               6.6.   Setoffs.

               The Liquidating Debtor may, but shall not be required to, set off against any
Claim, any claims of any nature whatsoever that DEMG may have against the holder of such
Claim; provided, that neither the failure to do so nor the allowance of any Claim hereunder shall
constitute a waiver or release by DEMG of any such claim DEMG may have against the holder
of such Claim.

               6.7.   Distributions After Effective Date.

              Distributions made after the Effective Date to holders of Disputed Claims that
are not Allowed Claims as of the Effective Date but which later become Allowed Claims shall
be deemed to have been made on the Effective Date.


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               6.8.   Allocation of Distributions Between Principal and Interest.

                Except as otherwise provided in this Plan, to the extent that any Allowed Claim
entitled to a distribution under the Plan is comprised of indebtedness and accrued but unpaid
interest thereon, such distribution shall be allocated to the principal amount (as determined for
U.S. federal income tax purposes) of the Claim first, and then to accrued but unpaid interest.

               6.9.   Maximum Distributions Allowed.

               No holder of an Allowed General Unsecured Claim shall receive distributions
that aggregate more than the amount of such holder’s Allowed General Unsecured Claim.

               6.10. Rounding of Payments.

               Whenever payment of a fraction of a cent would otherwise be called for, the
actual payment shall reflect a rounding down of such fraction to the nearest whole cent. To the
extent Cash remains undistributed as a result of the rounding of such faction to the nearest
whole cent, such Cash shall be treated as unclaimed property under the Plan.

               6.11. Minimum Cash Distributions

                The Disbursing Agent shall not be required to make any Initial Distribution or
subsequent distribution of Cash less than $25 to any holder of an Allowed General Unsecured
Claim; provided, however, that if any distribution is not made pursuant to this section, such
distribution shall be added to any subsequent distribution to be made on account of the holder’s
Allowed Claim. The Disbursing Agent shall not be required to make any final distributions of
Cash less than $5 to any holder of an Allowed Claim. If either (a) all Allowed General
Unsecured Claims (other than those whose distributions are deemed undeliverable hereunder)
have been paid in full or (b) the amount of any final distributions to holders of Allowed General
Unsecured Claims would be $5 or less and the aggregate amount of cash available for
distributions to holders of Allowed General Unsecured Claims is less than $5,000, then no
further distribution shall be made by the Disbursing Agent and any surplus Cash shall be donated
and distributed to an I.R.C. § 501(c)(3) tax-exempt organization selected by the Liquidating
Debtor.

SECTION 7. PROCEDURES FOR DISPUTED CLAIMS.

               7.1.   Allowance of Claims.

               After the Effective Date, DEMG shall have and shall retain any and all rights
and defenses that DEMG had with respect to any Claim, except with respect to any Claim
deemed Allowed under this Plan. Except as expressly provided in this Plan or in any order
entered in the Chapter 11 Cases prior to the Effective Date (including, without limitation, the
Confirmation Order), no Claim shall become an Allowed Claim unless and until such Claim is
deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has entered a
Final Order, including, without limitation, the Confirmation Order, in the Chapter 11 Cases
allowing such Claim.


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               7.2.    Objections to Claims.

                As of the Effective Date, objections to, and requests for estimation of, Claims
against DEMG may be interposed and prosecuted only by DEMG. Such objections and requests
for estimation shall be served and filed (a) on or before the 180th day following the later of (i)
the Effective Date and (ii) the date that a proof of Claim is filed or amended or a Claim is
otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or (b) such
later date as ordered by the Bankruptcy Court upon motion filed by the Liquidating Debtor.

               7.3.    Estimation of Claims.

                DEMG may at any time request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether DEMG previously objected to such Claim or whether the Bankruptcy
Court has ruled on any such objection, and the Bankruptcy Court will retain jurisdiction to
estimate any Claim at any time during litigation concerning any objection to any Claim,
including, without limitation, during the pendency of any appeal relating to any such objection.
In the event that the Bankruptcy Court estimates any contingent, unliquidated or Disputed
Claim, the amount so estimated shall constitute either the Allowed amount of such Claim or a
maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
amount constitutes a maximum limitation on the amount of such Claim, DEMG may pursue
supplementary proceedings to object to the allowance of such Claim. All of the
aforementioned objection, estimation and resolution procedures are intended to be cumulative
and not exclusive of one another. Claims may be estimated and subsequently compromised,
settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

               7.4.    No Distributions Pending Allowance.

               If an objection to a Claim is filed as set forth in Section 7.2, no payment or
distribution provided under the Plan shall be made on account of such Claim unless and until
such Disputed Claim becomes an Allowed Claim.

               7.5.    Distributions After Allowance.

                To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
provisions of the Plan. On the next Distribution Date after the date that any Disputed Claim
becomes an Allowed Claim (whether by Final Order of the Bankruptcy Court or otherwise), the
Disbursing Agent shall provide to the holder of such Claim the distribution (if any) to which
such holder is entitled under the Plan as of the Effective Date, without any interest to be paid on
account of such Claim unless required under applicable bankruptcy law.

               7.6.    Resolution of Claims.

             On and after the Effective Date, the Liquidating Debtor shall have the authority
to compromise, settle, otherwise resolve or withdraw any objections to Claims, and to
compromise, settle or otherwise resolve any Disputed Claims without approval of the
Bankruptcy Court.

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               7.7.   Disallowed Claims.

                All claims held by Persons or Entities against whom or which DEMG has
commenced a proceeding asserting a Cause of Action under sections 542, 543, 544, 545, 547,
548, 549 and/or 550 of the Bankruptcy Code shall be deemed “disallowed” claims pursuant to
section 502(d) of the Bankruptcy Code and holders of such claims shall not be entitled to vote
to accept or reject the Plan. Claims that are deemed disallowed pursuant to this section shall
continue to be disallowed for all purposes until the avoidance action against such party has
been settled or resolved by Final Order and any sums due to DEMG from such party have been
paid.

SECTION 8. EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

               8.1.   General Treatment.

                All executory contracts and unexpired leases to which DEMG is a party are
rejected as of the Effective Date, except for any executory contract or unexpired lease that is an
insurance policy subject to Section 8.3 of the Plan.

               8.2.   Rejection Claims.

                Unless a contract or lease is (a) specifically assumed or rejected by order of the
Bankruptcy Court, (b) otherwise expressly assumed pursuant to the terms of the Plan, or (c) the
subject of a separate assumption or rejection motion filed by DEMG, the Confirmation Order
shall constitute the Bankruptcy Court’s approval of the rejection of all the leases and contracts,
in accordance with Section 8.1 of the Plan, effective as of the Effective Date. In the event that
the rejection of an executory contract or unexpired lease by DEMG pursuant to the Plan results
in damages to the other party or parties to such contract or lease, a Claim for such damages, if
not heretofore evidenced by a timely filed Proof of Claim, shall be forever barred and shall not
be enforceable against DEMG, or its respective properties or interests in property as agents,
successors or assigns, unless a Proof of Claim is filed with the Bankruptcy Court and served
upon counsel for the Liquidating Debtor no later than thirty (30) days after the later of (1) the
Confirmation Date or (2) the effective date of rejection of such executory contract or unexpired
lease. Any such Claims, to the extent Allowed, shall be classified as Class 3 General Unsecured
Claims.

               8.3.   Insurance Policies.

                All insurance policies pursuant to which DEMG has any rights or obligations in
effect as of the date of the Confirmation Order shall continue to be enforced and treated as being
unaffected by the bankruptcy filing.

               8.4.   Reservation of Rights.

              Nothing contained in the Plan will constitute an admission by DEMG that any
such contract or lease is or is not in fact an Executory Contract or Unexpired Lease or that
DEMG has any liability thereunder.


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               Nothing in the Plan will waive, excuse, limit, diminish, or otherwise alter any of
the defenses, Claims, Causes of Action, or other rights of DEMG under any executory or non
executory contract or any unexpired or expired lease.

                Nothing in the Plan will increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities DEMG under any executory or non executory contract
or any unexpired or expired lease.

                If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, DEMG shall have thirty (30) days following
entry of a Final Order resolving such dispute to alter its treatment of such contract or lease.

SECTION 9. CONDITIONS PRECEDENT TO THE EFFECTIVE DATE.

               9.1.   Conditions Precedent to Confirmation.

               The occurrence of Confirmation is subject to the following conditions precedent:

                      (a)     the entry of the Disclosure Statement Order;

                      (b)     the entry of the Confirmation Order; and

                      (c)     the execution of the Disbursing Agent Agreement by the parties
                              thereto.

               9.2.   Conditions Precedent to the Effective Date.

               The occurrence of the Effective Date of the Plan is subject to the following
conditions precedent:

                      (a)     the Confirmation Date shall have occurred and the Confirmation
                              Order shall have become a Final Order; and

                      (b)     the Reorganization      Plan    shall   have   been    substantially
                              consummated.

               9.3.   Waiver of Conditions Precedent.

            Each of the conditions precedent in Sections 9.1 and 9.2 may be waived in writing
by DEMG with Bankruptcy Court approval.

               9.4.   Effect of Failure of Conditions to Effective Date.

               If the Confirmation Order is vacated, (i) no distributions under the Plan shall be
made, (ii) DEMG and all holders of Claims and Interests shall be restored to the status quo ante
as of the day immediately preceding the Confirmation Date as though the Confirmation Date
never occurred, and (iii) all of DEMG’s obligations with respect to the Claims and the Interests
shall remain unchanged and nothing contained herein shall be deemed to constitute a waiver or
release of any claims by or against DEMG or any other entity or to prejudice in any manner the

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rights of DEMG or any other entity in any further proceedings involving the Plan, DEMG or
otherwise.

SECTION 10. EFFECT OF CONFIRMATION.

               10.1. Subordinated Claims.

                The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective distributions and treatments under the Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Pursuant to section 510 of the Bankruptcy Code, DEMG reserves the right to
reclassify any Allowed Claim or Interest in accordance with any contractual, legal or equitable
subordination relating thereto.

               10.2. Vesting of Assets.

              On the Effective Date, pursuant to sections 1141(b) and (c) of the Bankruptcy
Code, all property of the DEMG Estate, shall remain vested in DEMG free and clear of all
Claims, Liens, encumbrances, charges and other interests, except as provided pursuant to this
Plan and the Confirmation Order.

               10.3. No Discharge of Claims.

                Except as otherwise provided in the Plan, with respect to unclaimed distributions
and late filed Claims, DEMG shall not be discharged, pursuant to section 1141(d)(3)(A) of the
Bankruptcy Code, from any Claim. The Plan shall bind all holders of Claims and Interests,
notwithstanding whether any such holders failed to vote to accept or reject the Plan or voted to
reject the Plan. All Entities shall be precluded from asserting against the Liquidating Debtor
and the DEMG Estate, their successors and assigns and their assets and properties any other
Claims or Interests based upon any documents, instruments or any act or omission, transaction
or other activity of any kind or nature that occurred before the Effective Date.

               10.4. Term of Injunctions or Stays.

               Unless otherwise provided, all injunctions or stays arising under or entered during
the Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or otherwise, and in
existence on the Confirmation Date, shall remain in full force and effect until the later of the
Effective Date and the date indicated in the order providing for such injunction or stay.

               10.5. Injunction Against Interference with Plan.

             From and after the Effective Date, all entities are permanently enjoined from
commencing or continuing in any manner, any suit, action or other proceeding, in the
Bankruptcy Court or otherwise, on account of or respecting any Claim against, or Interest in,
DEMG, except with respect to the allowance of such Claim or Interest in accordance with the
Plan.

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               10.6. Exculpation.

               No Exculpated Party shall have or incur, and each Exculpated Party is hereby
released and exculpated from any claim, obligation, cause of action or liability for any claim in
connection with or arising out of, the administration of the DEMG Case, the negotiation and
pursuit of the Plan, or the solicitation of votes for, or confirmation of, the Plan, the
Consummation of the Plan, or the administration of the Plan or the property to be distributed
under the Plan, or any other transaction contemplated by the foregoing, except for willful
misconduct or gross negligence, but in all respects such entities shall be entitled to reasonably
rely upon the advice of counsel with respect to their duties and responsibilities pursuant to the
Plan; provided, however, that nothing in the Plan shall limit the liability of DEMG’s
professionals to its client pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8 Rule
1.8(h)(1) (2009), and any other statutes, rules or regulation dealing with professional conduct to
which such professionals are subject.

               Furthermore, pursuant to the Disbursing Agent Agreement, upon the Effective
Date, the Disbursing Agent is hereby released and exculpated from any claim, obligation, cause
of action or liability for any claim arising in connection with its duties under the Disbursing
Agent Agreement.

               10.7. Releases

                        (a)     Releases by DEMG. Subject to Section 10.7(c), as of the Effective
Date and to the fullest extent permitted by applicable law, for good and valuable consideration,
including the services to facilitate the Plan, the Released Parties will be deemed released and
discharged by DEMG, the Liquidating Debtor and the DEMG Estate from any and all Claims,
obligations, rights suits, damages, Causes of Action, remedies and liabilities whatsoever, whether
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, that DEMG, the Liquidating Debtor or the DEMG Estate would have been legally
entitled to assert, other than any act or omission that is a criminal act or constitutes intentional
fraud; provided, however, that nothing in the Plan shall limit the liability of DEMG’s
professionals to its client pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8 Rule
1.8(h)(1) (2009), and any other statutes, rules or regulation dealing with professional conduct to
which such professionals are subject.

                       (b)     Releases by Holders of Claims. Subject to Section 10.7(c), as of
the Effective Date and to the fullest extent permitted by applicable law, for good and valuable
consideration, including the waiver by the Consenting Senior Noteholders of their right to
receive distributions on account of their Claims, the release an discharge by the Consenting
Lender, the Issuing Lender and the Roll-Up Lender of the liens and security interests granted by
DEMG in connection with the 2012 Credit Agreement and the DIP Loan Agreement, and the
Reorganization Plan Debtors’ release of certain claims against DEMG, the Releasing Parties will
be deemed to have conclusively, absolutely, unconditionally, irrevocably and forever, released
the Released Parties from any and all Claims, obligations, rights, suits, damages, Causes of
Action, remedies and liabilities whatsoever, whether known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, or otherwise, that such entity would have been
legally entitled to assert arising from, in whole or in part, any transaction with DEMG, the

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Liquidating Debtor or the DEMG Estate, other than any act or omission that is a criminal act or
constitutes intentional fraud.

                       (c)    Obligations Under Plan Not Released. Notwithstanding anything
in the Plan to the contrary, the Release provisions set forth above do not release any post-
Effective Date obligations of any party under the Plan or any document, instrument or agreement
executed to implement the Plan.

               10.8. Retention of Causes of Action/Reservation of Rights.

                      (a)     Except as otherwise provided herein, including Sections 10.6 and
10.7, pursuant to section 1123(b) of the Bankruptcy Code, DEMG shall retain and may enforce,
sue on, settle or compromise (or decline to do any of the foregoing) all claims, rights, causes of
action, suits and proceedings, whether in law or in equity, whether known or unknown, that
DEMG or the DEMG Estate may hold against any Person or Entity without the approval of the
Bankruptcy Court, including, without limitation, (i) any and all Claims against any Person or
Entity, to the extent such Person or Entity asserts a cross-claim, counterclaim and/or Claim for
setoff which seeks affirmative relief against DEMG, its officers, directors or representatives; and
(ii) the turnover of any property of the DEMG Estate; provided, however that DEMG shall not
retain any Claims or Causes of Action arising under chapter 5 of the Bankruptcy Code against
holders of Allowed General Unsecured Claims (except that such Claims or Causes of Action
may be asserted as a defense to a Claim in connection with the claims reconciliation and
objection procedures). DEMG or its successor(s) may pursue such retained claims, rights, or
causes of action, suits or proceedings, as appropriate, in accordance with the best interests of
DEMG or its successor(s) who hold such rights.

                      (b)     Except as otherwise provided herein, including Sections 10.6 and
10.7, nothing contained herein or in the Confirmation Order shall be deemed to be a waiver or
relinquishment of any Claim, Cause of Action, right of setoff or other legal or equitable defense
which DEMG had immediately before the Commencement Date, against or with respect to any
Claim left Unimpaired by the Plan; provided, however that DEMG shall not retain any Claims or
Causes of Action arising under chapter 5 of the Bankruptcy Code against holders of Allowed
General Unsecured Claims (except that such Claims or Causes of Action may be asserted as a
defense to a Claim in connection with the claims reconciliation and objection procedures).
DEMG shall have, retain, reserve and be entitled to assert all such claims, Causes of Action,
rights of setoff and other legal or equitable defenses which they had immediately before the
Commencement Date with respect to any Claim left Unimpaired by the Plan as if the Chapter 11
Cases had not been commenced, and all of DEMG’s legal and equitable rights respecting any
Claim left Unimpaired by the Plan may be asserted after the Confirmation Date to the same
extent as if the DEMG Case had not been commenced.

               10.9. Solicitation of the Plan.

              As of and subject to the occurrence of the Confirmation Date, DEMG shall be
deemed to have solicited acceptances of the Plan in good faith and in compliance with the
applicable provisions of the Bankruptcy Code, including without limitation, sections 1125(a)


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and (e) of the Bankruptcy Code, and any applicable non-bankruptcy law, rule or regulation
governing the adequacy of disclosure in connection with such solicitation.

SECTION 11. RETENTION OF JURISDICTION.

               On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction
over all matters arising in, arising under, and related to the DEMG Case for, among other things,
the following purposes:

                      (a)    to hear and determine motions and/or applications for the
                             assumption or rejection of executory contracts or unexpired leases
                             and the allowance, classification, priority, compromise, estimation
                             or payment of Claims resulting therefrom;

                      (b)    to determine any motion, adversary proceeding, application,
                             contested matter and other litigated matter pending on or
                             commenced after the Confirmation Date;

                      (c)    to ensure that distributions to holders of Allowed Claims are
                             accomplished as provided herein;

                      (d)    to consider Claims or the allowance, classification, priority,
                             compromise, estimation or payment of any Claim;

                      (e)    to enter, implement or enforce such orders as may be appropriate
                             in the event the Confirmation Order is for any reason stayed,
                             reversed, revoked, modified or vacated;

                      (f)    to issue injunctions, enter and implement other orders, and take
                             such other actions as may be necessary or appropriate to restrain
                             interference by any person with the consummation,
                             implementation or enforcement of the Plan, the Confirmation
                             Order, or any other order of the Bankruptcy Court;

                      (g)    to hear and determine any application to modify the Plan in
                             accordance with section 1127 of the Bankruptcy Code, to remedy
                             any defect or omission or reconcile any inconsistency in the Plan,
                             or any order of the Bankruptcy Court, including the Confirmation
                             Order, in such a manner as may be necessary to carry out the
                             purposes and effects thereof;

                      (h)    to hear and determine all applications under sections 330, 331 and
                             503(b) of the Bankruptcy Code for awards of compensation for
                             services rendered and reimbursement of expenses incurred before
                             the Confirmation Date;

                      (i)    to hear and determine disputes arising in connection with the
                             interpretation, implementation or enforcement of the Plan or the

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                          Confirmation Order or any agreement, instrument or other
                          document governing or relating to any of the foregoing;

                   (j)    to take any action and issue such orders as may be necessary to
                          construe, interpret, enforce, implement, execute and consummate
                          the Plan or to maintain the integrity of the Plan following
                          consummation;

                   (k)    to hear any disputes arising out of, and to enforce, the order
                          approving alternative dispute resolution procedures to resolve
                          personal injury, employment litigation and similar claims pursuant
                          to section 105(a) of the Bankruptcy Code;

                   (l)    to determine such other matters and for such other purposes as may
                          be provided in the Confirmation Order;

                   (m)    to hear and determine matters concerning state, local and federal
                          taxes in accordance with sections 346, 505 and 1146 of the
                          Bankruptcy Code (including any requests for expedited
                          determinations under section 505(b) of the Bankruptcy Code for
                          periods through the dissolution of DEMG);

                   (n)    to adjudicate, decide, or resolve any Causes of Actions;

                   (o)    to adjudicate, decide or resolve any and all matters related to
                          section 1141 of the Bankruptcy Code;

                   (p)    to resolve any cases, controversies, suits, disputes or Causes of
                          Action with respect to the repayment or return of distributions and
                          the recovery of additional amounts owed by the holder of a Claim
                          for amounts not timely repaid;

                   (q)    to adjudicate any and all disputes arising from or relating to
                          distributions under the Plan;

                   (r)    to hear and determine any other matters related hereto and not
                          inconsistent with the Bankruptcy Code and title 28 of the United
                          States Code;

                   (s)    to enter a Final Decree closing the DEMG Case;

                   (t)    to recover all assets of the Liquidating Debtor and property of the
                          DEMG Estates, wherever located; and

                   (u)    to hear and determine any rights, Claims or causes of action held
                          by or accruing to DEMG pursuant to the Bankruptcy Code or
                          pursuant to any federal statute or legal theory.


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SECTION 12. MISCELLANEOUS PROVISIONS.

               12.1. Payment of Statutory Fees.

               On the Effective Date and thereafter as may be required, DEMG shall pay all
fees incurred pursuant to § 1930 of title 28 of the United States Code, together with interest, if
any, pursuant to § 3717 of title 31 of the United States Code for the DEMG Case or until such
time as a Final Decree is entered closing the DEMG Case, a Final Order converting the DEMG
Case to a case under chapter 7 of the Bankruptcy Code is entered or a Final Order dismissing
such the DEMG Case is entered.

               12.2. Substantial Consummation.

               On the Effective Date, the Plan shall be deemed to be substantially consummated
under sections 1101 and 1127(b) of the Bankruptcy Code.

               12.3. Dissolution of Creditors Committee.

             Unless dissolved earlier pursuant to the terms of the Reorganization Plan, the
Creditors Committee shall be dissolved as of the Effective Date.

               12.4. Request for Expedited Determination of Taxes.

               DEMG shall have the right to request an expedited determination under section
505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all
taxable periods ending after the Commencement Date through the Effective Date.

               12.5. Amendments.

                      (a)     Plan Modifications. The Plan may be amended, modified or
supplemented by DEMG in the manner provided for by section 1127 of the Bankruptcy Code or
as otherwise permitted by law without additional disclosure pursuant to section 1125 of the
Bankruptcy Code. In addition, after the Confirmation Date, DEMG may institute proceedings in
the Bankruptcy Court to remedy any defect or omission or reconcile any inconsistencies in the
Plan or the Confirmation Order, with respect to such matters as may be necessary to carry out the
purposes and effects of the Plan.

                       (b)   Other Amendments. Before the Effective Date, DEMG may make
appropriate technical adjustments and modifications to the Plan without further order or approval
of the Bankruptcy Court; provided, however, that any such adjustments or modifications shall
not materially and adversely affect the economic interests of any holder of a Claim or Interest.
In accordance with the Disbursing Agent Agreement, the Disbursing Agent Agreement may not
be amended, modified or supplemented by Reader’s Digest and DEMG without the consent of
the Consenting Senior Noteholders.




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               12.6. Effectuating Documents and Further Transactions.

               Each of the officers of DEMG is authorized, in accordance with his or her
authority under the resolutions of DEMG’s board of directors, to execute, deliver, file or record
such contracts, instruments, releases, indentures and other agreements or documents and take
such actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan.

               12.7. Revocation or Withdrawal of the Plan.

               DEMG may revoke or withdraw the Plan only if it is in the exercise DEMG’s
fiduciary duty. If DEMG takes such action, the Plan shall be deemed null and void. In such
event, nothing contained herein shall constitute or be deemed to be a waiver or release of any
Claims by or against DEMG or any other person or to prejudice in any manner the rights of
DEMG or any person in further proceedings involving DEMG.

               12.8. Severability of Plan Provisions upon Confirmation.

                If, before the entry of the Confirmation Order, any term or provision of the Plan is
held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court, at the
request of DEMG, shall have the power to alter and interpret such term or provision to make it
valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired or invalidated by such holding, alteration or
interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (1) valid and enforceable pursuant to its terms; (2) integral to
the Plan and may not be deleted or modified without the consent of DEMG; and (3) nonseverable
and mutually dependent.

               12.9. Governing Law.

                Except to the extent that the Bankruptcy Code or other federal law is applicable,
the rights, duties and obligations arising under the Plan shall be governed by, and construed and
enforced in accordance with, the laws of the State of New York, without giving effect to the
principles of conflict of laws thereof.

               12.10. Time.

              In computing any period of time prescribed or allowed by the Plan, unless
otherwise set forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.




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               12.11. Immediate Binding Effect.

                Notwithstanding Bankruptcy Rules 3020(e), 6004(h) or 7062 or otherwise, upon
the occurrence of the Effective Date, the terms of the Plan shall be immediately effective and
enforceable and deemed binding upon and inure to the benefit of DEMG, the holders of Claims
and Interests, the Exculpated Parties and each of their respective successors and assigns.

               12.12. Successor and Assigns.

               The rights, benefits and obligations of any Entity named or referred to in the Plan
shall be binding on, and shall inure to the benefit of any heir, executor, administrator, successor
or permitted assign, if any, of each Entity.

               12.13. Entire Agreement.

              On the Effective Date, the Plan and the Confirmation Order shall supersede all
previous and contemporaneous negotiations, promises, covenants, agreements, understandings
and representations on such subjects, all of which have become merged and integrated into the
Plan.

               12.14. Notices.

               All notices, requests and demands to or upon DEMG to be effective shall be in
writing (including by facsimile transmission) and, unless otherwise expressly provided herein,
shall be deemed to have been duly given or made when actually delivered or, in the case of
notice by facsimile transmission, when received and telephonically confirmed, addressed as
follows:

                      (i)     if to DEMG:

                              DIRECT ENTERTAINMENT MEDIA GROUP, INC.
                              c/o RDA Holding Co.
                              44 South Broadway
                              White Plains, New York 10601
                              Facsimile:     (914) 244-7810
                              Attn: Andrea Newborn, Esq.

                               – and –

                              DICKSTEIN SHAPIRO LLP
                              1633 Broadway
                              New York, NY 10019
                              Attn: Barry N. Seidel, Esq.
                                    Katie L. Weinstein, Esq.
                                    Evan J. Zucker, Esq.
                              Telephone:   (212) 277-6500
                              Facsimile:   (212) 277-6501


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                              – and –

                              WEIL, GOTSHAL & MANGES LLP
                              767 Fifth Avenue
                              New York, NY 10153
                              Attn: Joseph H. Smolinsky, Esq.
                                     Marcia L. Goldstein, Esq.
                                     Matthew P. Goren, Esq.
                              Telephone:    (212) 310-8000
                              Facsimile:    (212) 310-8007

                      (ii)    if to the Disbursing Agent:

                              THE READER’S DIGEST ASSOCIATION, INC.
                              44 South Broadway
                              White Plains, New York 10601
                              Attn: William Magill

               After the Effective Date, DEMG has the authority to send a notice to Entities that
to continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed
request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date,
DEMG is authorized to limit the list of Entities receiving documents pursuant to Bankruptcy
Rule 2002 to those Entities who have filed such renewed requests.




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                                    Exhibit 1

                            Disbursing Agent Agreement
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